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                             I NITED S'FA I ES DISTRICT COURT
                            AN ESTERN DISTRICT OF WISCONSIN


ERE U.1)011 I . ROM RELIGION
FOt ND HON. INC \\NI- Nicol.
G Al TOR: ;NN IF LU ME (J LOR;
PAt I. G Al LOR; DAN BARKER;
PHI I I IS ROSE, and J 1 L L DEAN.

               Plaintiffs,
                                                     Case No: 08-CV-588
V.


PRESIDENT BARACK OBAMA; WHITE HOUSE
PRESS SECRETARY ROBERT GIBBS; WISCONSIN
GOVERNOR JIM DOYLE; and SHIRLEY DOBSON,
CHAIRMAN OF THE NATIONAL
DAY OF PRAYER TASK FORCE,

               Defendants.


     P AINTIFFS' BRIEF IN SUPPORT OF JUDGMENT IN THEIR FAVOR




       INTRODUCTION.

          er\ )ear since I ():2. the President of the United States issues an official l'ua er

Proelanillion and dedicates a National Day of Pra y er. The President does this lecause

c    2N , ha, cci LaH e 1\ inandated that he do s         Thc President has not hesitiRd 10 ksue

›uch )..aJ er Proelinnatioib. \\ hiL:n ext ol th   rtnc uk ,ra\

        in prayei      e!       he ake        cour,t-in     ici 1i           1   Ltimu:t1   ea




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religious endorsement is then disseminated b the Presidcht s PFL's                                    \\ ill


    made kno\\ n to all Americans.

          I he posting or the PrCSidelIC i ) ri\ el . Proclamation on Li courthouse door. or mailint2

it directly to               or handing it out at public emplo\ ment oflices. ould unquestionabi n


run afoul of the .stablishment Clause. just as disseminatint! it to all cititens merck

compounds the offense. The government. cannot endoise, pro ote or prefer relig on ov er

non-relklion, and prayer is quintessentially a re igious activity.

         It is a matter of undisputed fact that the National Day of Prayer is perceived to he and

is recognized as an annual call by the President for Americans to engaue in prayer. The

President's procla ation of this event constitutes explicit devo ional govern ent speech that

violates the Establishment Clause.

         The National Day of Prayer has never had a secular propose, intent, or effect. The

intent has always been government proselytizing, to place government endorsement behind

prayer and religious belief, and more than that, to call upon cid/ens to pray and express belief

in God. The NDP Proclamations not only wrongly and unconscionably place the impri atur

   go \ eminent upk )11 hel ier in God: the NDP Proclamations place the . tamp of appro              upon

reli2ious belie I , ra\ erand n \ orshi lb\ the lu g liest cxectill     of1i,:cr ordic Lind: thc Pre,ident

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l'ittciiit eaneJicak. I lie          Cr\ Li"       \\                          (Iraham durin,

                   1J.C. in 1952.
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            IL' National Da\ t)l ' Pnt \Cr la \\ \\as adopted almost inullediatc1\ al1c IN .;l1L'›Iii)11


 \ Re \                    Conrc. \\ hich              citcd reirgious moti \ es that arc outside thc

pur\           `+‘NIILIF go\ erninent. sueh as to instill laith in an Alrni .:,i.ht\ God. to c\hort


               unite in a da\ H pl'a\ er each \ L'ar .rcailirnime in a t.irainatic manner that dec

re igious con\ ik:tion \\ hich has pre\ ailed throuL2hout the histor\ or the t nited states. " 1 he

lawitself as enacted for thc unconstitutional purpos of ordering the h.xecuti \ c Branch to

urge the people of the United States to turn to God in prayer in churches. in groups and as

individuals one dav ekery year. The proviso in the 1952 law that the proclamation never be

on a Sunday revea s additional intent to take religion out of its prk ate realm of worship on

Sundays in the private sphere, and draw attention to prayer throudi government action on

v eekdays. By ordering a presidential proclamation it was assured that the President's

inappropriate and unconstitutional endorse ent of prayer as part of his civil duties would be

broadcast throughout the land.

          Indeed. Presidents since 1952 have dramatically called on citizens not only to pray,

but the\ ha \ c even had the temerit y to tell Americans what to pray for in proclamations t hat

emphasize thc supposed re i g ious character of the United States government.

       The 1.9      Amendment which codilied the first thursda\ in \ I a a the National Day

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           he stated purposc ofchairOm2 the National I )',1\ ol Pra cr hioni a flice-lloatin ll annual

(kite to the Iirst 1hursda iiiNlti\ \\as to help brine more eertaintN to the schedulirql

events related to the National Da \ of Pra n cr. and perniit more effective lonu-range

planning."(Ex. 119 at 1.) NationA Prayer Committee Chairman Pat .k,00ne noted that the

roving date "offered little ad \ ance notice to adequately inform the urass roots

constituencies," but a "definite date will allow millions of citizens ... who have explicit faith

in a Prayer-hearing God to be informed about this significant date in our country." (Ex. 119

at 2.)

         Since passage of the 1988 law, the NDP Task Force has become a publicity machine,

to pressure public officials, including the President and all the state governors, to issue

National Day of Prayer procla at ons consistent with the NDP Task Force's "Judeo-

Christian" bias. o that the NDP Task Force can use the first Thursda y in Ma y to mohilite

Chrktian-centered e\ ents. rallic. statements and acti \ I es at all 5() capitols and go eminent

buildim2.›. as well . H private cliurches. across the land.

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Constitutiont R.              I here \\ t. H no pra\ er at the Constitutional Con\ ention. That lack

go\ ernment religiousriuiil reflected the deliberate intent H the founder, to in\ em a He \ n and

secular go\ ernillein           hl1/4.11             Ser.arated theolof1\ from ILO\ erililielu.     I hat


re\ olutionar\ and \ isionarN uct of the founders made the t nited States the first nation in the


\\ odd 10 U. opt a godless Constitution. \\ hieh invested soverei g ni\ not in a deit \ hut in "We.


the Peop e." and \\ hose only references to religion in g o\ ernment are exelusionar\ . such as

that there shall be no religious test for public office. (U.S. Constitution, Ar .

         These proclamations, including the 2008 Presidential Proclamation which

incorporated recognizably Biblical scripture, are intended as encouragements to pray--and

they are perceived as such. This is no less t ue of President Obama's 2009 proclamation

which "calls upon" Americans to personally en g a g e in prayer, an inherently religious activity.

         The defendants ironically su g gest that such Presidential Procla atio s arc immune

to challenge because they are distributed to and intended for a national audience. In other

words, according to the defendants. proclamations exhorting prayer arc not contestable \\ hen

published to all of the citizens as an intended audience. including in the Con,tressional

Record. This arg.ument isnot onl\ counterintuni e. but inemistent \\ ith the kno \\ a fact that

thc ational Day or Pru\ er dedired annuall h 11.6.2 A l n;r i c,A n                          \         C--


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endoreinem.           ako thk eourt can enjoin the annual eall topra n -r that I

                    b\ (onLaes and implemented \\ ithout dkcretion H the Preident \\ ith

(ledicated \ ational 1)a\ oltra \ er. Oilmal Pra\ e • Proclamations. and celebration orreli ion.

'The court ita .; the authorit \ to determine the appearance o end orement created

government speech: this Court also has the authority and responsibilit\ to examine the

prorriet n of ins     tionalfied exhortations of national pra\ er required of the President.

        The plaintiffs do not ask the court to determine that Americans may not pray in their

personal lives or attend church to pray, or privately sponsor their own day of p aver. On the

contrary, the plaintiffs support both the Free Exercise Clause as well as the Establishment

Clause. The plaintiffs also are not seeking to restrain the President from exercising his free

speech rights, such as by mentioning his or her religious views in public, or in a speech, or,

for example, from concluding remarks with a phrase such as "God bless America." The

plaintiffs, ho ever, do ask the court to declare unconstitutional the official dedication of

National Days of Pray cr and the issuance 0r official Presidential Prayer Proclamations that

g ive onicial   \ eritinen sanction to the endorsement ol'relilion b y exhorting each American


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        Thc      indllt     disaLlree that this Court has the authorit\ to consider the

constitutionalit\ orannuJi PM\ CFPFOclamations and d hi tIion              ti NationH )a\ orPra\

1 he\ impl\ thm the , laintifis are orlicious intermeddlers and l, us\ odies. row-111111_1 the

countr\ ror reasons to complain. i he derendants also claim that e\ l osure to the National

Da) orl)r ,.1\ erand Presidential Pra\ er Proclamations is not coerek e and that no      0111/42 k   loreed

to engage in pi-a\ cr. hey contend that no one has un \N anted and un elcome" exposure to

Presidential Pra n- cr Proclamations encouraling the citivenry to take action. The defendants,

instead, apparently belio, e that the plaintiffs must close their eyes and cover their ears; the

plaintiffs must endure the official exho tations of their government which cause the sincere

distress and feelings of exclusion detailed by the plaintiffs.

       No one has standing to question the dcdication of a National Day of Prayer and the

issuance of Prayer Proclamations, by the defendants reasoning. The defendants insinuate

that no one can challenge thc dedication of a National Day of Prayer and the issuance of

Prayer Proclamations by the President, except perhaps the media itself. regardless whether

unconstitutional.

       The delendants' argument, howe\ er I a isperceives the nature of a Presidential Prayer

Proclamation and the dedication of a National I )n\ or Pra n er. The plainti Ifs are an intended

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President's intended audience. \\ ho are dit lerentiall n affected heeatI C the\ are non-belie\

 In fact. the Presidenti l Prochnnations             \ pro\ ide discriminator\ _o\ ernment       ttncc

    leh L.lious /ealots in c\pr       inc their niie.. Sec _Nlereier \ I at. ro        ;u5     upp. 2d

                \ I). \\    10(4).

           The pknnii 1k are not ohi igated to meekl n \ ell their eves and cover their ears \\ hen

the government disseminates unconstitutional speech, which unlike pri a.e speech. \ not

endorse religion. The defendants argument suggests that these individual plaintiffs are

obligated to forego being informed, as by reading the newspaper, watching C-SPAN, or

browsing government websites on the first Thursday of every May, so as to avoid

objectionable speech, but as this court understands, an informed Citizenry is a duty and it is

a strength of the nation.

           The Establishment Clause does not require forced or coercive exposure to religious

endorsement. Coercion is not the touchstone of the Establishment Clause, which prohibits

governmental endorsement of religion over non-religion--even if done secretly. The

expectation that nonbclie\ ers should merely i nore or avoid objectionable governmental

  leech does not prevent the offense. On the contrary, this compounds the fIense N v

emphasi/* that re              behexiers ;ire la\ red. \\ hile non-belio er are political outsiders.

           I he delendants do not recognite their (.)\\ n deafness to licolkno2 c:Iu›ed      c\tidlin,

pr:1\      \\                                   rea flirm        drainaiL inanncr tl

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American, o not belie\ e in (iod—or e\ en belie\ that reli g ion is a n                   tind henelieem

toree in the arrai       i ncr, ;I nd m i tions, A   lustice Black ,tated in   ora,..11 \ . Clauson.

                     (i9D2) (Black.       dissenting):

               It \\asrreekek neealle I iItiith t entur\ American> \\ ere a
               religious people di\ ided into man n lighting sects that \\ e \ n et.e
                   cut the Constitutional mandate to keep Church and State
               completel n separate. Colonial histor\ had alread y shim n that.
               here a. s elseN\ here. tealous sectarians entrusted \\ ith
               go\ ernmental power to further their causes would sometimes
               torture. maim. and kill those the y branded "heretics." "atheists,
               or "agnostics." The First Amendment A n as therefore to ensure
               that no one powerful sect or combination of sects could use
              political or governmental power to punish dissenters whom they
              could not convert to their faith. Now, as then, it is onl y by
              wholly isolating the state from the religious sphere and
              compelling it to be completely neutral, that the freedom of each
              and every denomination and of all non-believers can be
              maintained.

       Thomas Jeffe son also recognized that belief in the existence of God is not a

prescription for virtue and comfort. In Jefferson's letter to his nephevv, Peter Carr, w itten

from Paris on August 10, 1787, Jefferson famously obserx ed:

              Question AN ith boldness e\ en the existence ora God: because. if
              there he one. he must more appro\e 01' the homage or reason
              than that olThlind101ded rear . . Do not he Irightened from this
              inquir.\ h\ an\ fear orits consequences. Mt ends in a helierthat
              there k no God. \on \\ W find inducements to \ irtue in the
              comlOrt and ried ,,tiitnc: \ on feel in its exercise. and the lo\ e or
              others \\ Hic.:11 it \\iil pro1/4:t.irc \ ott

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                    consider the g o\ ernm .,mt of the         as interdieted H hc
                  constitution i .rom intermeddling \\itli lClioLH istitution. their
                  d,.)ctrines. lisciplines or exerciscs...CertainL no ro\\L:r
                  prescribL: an\ reliLhous exercise. or to assume authorit\ in
                  religious discipline. has been delegated to the general
                  go\ ernment...13ut it is onl n proposed that Ishould recoi?iiuci;ci.
                  not prescribe a da\ of fasting and pra n er. Ihat k. that I should
                               ;.1 s1.1111e to the S. an imthorit\ 0\ er religious

                  exercises N'hich the Constitution has directl n precluded them
                  fionn It must be meant too that this recommendaLion is to carry
                  sonic authority, and to be sanctioned h. some pcn:uLty on those
                  W h o disregard it; not indeed of line and imprisonment, but of

                  some degree of proscription perhaps in public opinion. And
                  does the change in the nature of the penalty make the
                  recommend the less a law of conduct for those to whom it is
                  directed? Fasting & prayer are religious exercises. The
                  enjoinin2 them an act of discipline. Every religious society has
                  a right to determine for itself the times for these exercises, & the
                  objects proper for them, according to their own particular tenets;
                  and this right can never be safer than in their own hands, where
                  the constitution has deposited it. (Thomas Jefferson: Writings,
                  pgs. 1186-1187, Merrill D. Peterson, ed., New York: Library of
                  America, 1994.)

         The exhortations of an official National Day of Prayer are not based on an n supposed

intrinsic utility of religion, just as they are not justified by the presumed numerical

insignificance of non-belie‘ers. On the contrar y . accordin g to an authoritati\ e rc igious

idc!ttiIcatn sur\ e\ . at least 15%, or 34 million adult Americans. are no\\ non-religious .

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it ma\ lc true that 111',111\ American are reliious in their personal         moreo\ ,r           e do not

count heads               enlOrcingthe I tahlishment Clause.     \let:rear\ Count\ . Kentuck\

ACI 1          kentuck\                     (O'Connor. 1, concurrin.,.2.)        ). In lac bein.1

member ot the non-re i.,2.ious conununit\ is not ‘.1                                   the deicndants




          The individual plaintiffs in this suit do have standing to object to government speech

directed at them. The Freedom From Reli g ion Foundation also has standing in its

representative and organizational capacity based upon the impediment to accomplishing

FFRE's o ganizational goal to ensure the constitutionally-required separation of church and

state.

          B.      The Defendants Misconstrue The Essence of Prayer Proclamations.

          The defendants argument that Presidential Prayer Proclamations are per se

consti utional, in any form or per utation, distorts the role of the Court in determining

whether government speech o ives the appearance of religious endorsement. The delendants

ignore that governmental speech ma \ eon \           proper support for reliLlion depend in g upon

content and context, and Llo\ ernment speech endorsing and pre Ierriii g reli g ion k prohibited

by the I . tablishment CLItNc.

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Nloreo\ er. although the d-lendants sw,42.est that the Supreme earl has airead\ det,..nnined

the constitutionant\ of Presidential Pra\ er Proclamations. that is not true. I he Supreme

Courfs prior references to Prayer Proclamations do not answer the question nox\ belore tins

Court. \\ hich question cannot be determined in the abstract. Fhe delendants also indulge and

perpetuate historical inaccuracies in defending the National Day of Praver. \\ hich is neither

ubiquitous. nor without controversy and di \ isiveness.

           fhe defendants ignore the legislative intent behind Congress direction that annual

Prayer Days be dedicated by the President. They misunderstand and distort the history of the

Establishment Clause and the separation of church and state. The defendants also i g nore the

context and content of Prayer Day Proclamations and Dedications, in which pre y ous

Presidents have previously aligned with the National Day of Prayer Task Force, a messianic

evangelical organization. The alignment with the NDP Task Force provides content and

context for Presidential Pra n er Proclamations, which is relevant to the application of the

reasonable obser n er test for determinin g improper end rsement.

       The deletidants unpersuasively invite this Court to rule as a matter of law that

Presidential Pra\ erDayProclamations inherentl \ compl \            ith the istablishinent Clause. No

judicial authorit\      rperK the l roposition dlat de etierhil go\ crilinental peeJ. uch us

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communicated. De\ otional L2.O\ ernmen                           ecJh is tolerated under the 1 tahlishment Huse

onl\ \\ here no relHous endorsement ocelir, 'ere. the purpose and effect orNational Pra n er

I )a      li        lainaiions 'Lire )reeise j n the Oppo,: il,2: 1 .111/42   intentionaik elleoLirLq.2.e and promote

acti e participation in reliious practices. and disparal.le                         e \dude     millions ornon-hclie\

Americans. II , the dedieation of a National Day of Prayer, for the purpose of promoting

actiN e pran cr. does not violate the Establishment Clause, then what is prohibited by the

2overnment?

II. THE INDIVIDUAL PLAINTIFFS HAVE STANDING TO OBJECT TO
      GOVERNMENT SPEECH ENDORSING RELIGION, WHICH SPEECH IS
      DIRECTED AT THEM.

               A.        The Individual Plaintiffs Have Constitutionally Sufficient Contact With
                         The Objectionable Speech.

               The defendants deny that the individual plaintiffs have standing to sue based on their

exposure to Presidential I rayer Proclamations and dedications of a National Day of Pra er.

Ihe defendants essentially argue that the individual plaintiffs have not had to "NA , alk by"

UIt \\   eleome Presidential Pra y er Proclamations, such as occurs with a nativit y scene at a

county         courthouse. and so the ph a nti rk al leedl\ have not bee n injured, The derendants

reason that um\ elcome exposure to Llovernment speech must ha\ e pedestrian or \\

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         The defendants inisLipprehend the contact \\ ith g

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effeeti \ c disquahr\ an n bod n from objecting. unless s 1"ch i ph n sicall n p aced in Iront of

an indi \ idua 11\ a go\ eminent          1: his test ma\ Work for parochial LIO\ eminent speech

with a limited intended audience, b it go \ ernment speech intended to reach the nation would

no lon ger be objectionable by anyone. Ironically, the kstablishment Clause then would only

prohibit government speech endorsing religion at the local level, While insulating

proclamations to the enti e nation that endorse religion. The irony of this argument lies in

the fact that a national broadcast pro oting religion by the President at Congress' behest is

a least as likely to establish a national religion as local government speech endorsing religion.

         It is axio atic that a crucial difference exists between govern ent and private speech

that endorses rel g ion: Government speech endorsing religion is forbidden by the

Establishment Clause. The Board of Education of West Side Communit y Schools (District

66) V. Mer gens, 496 U.S. 226, 250 (1990). The Supreme Court has consistently recognized

this "crucial difference" between government speech endorsing IL igion, which the

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speech

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4u1 1-.3d 85.8n2 ( - th Cir. 2005).            L i:.\o13ooks . Cit\ olIlkhart                  91 299-301

(7th Cir. 2000); Doe v. Count\ ol Nlontuomen, 411-.3d 1156, 1160-61 (7th Cir. 1994) (the

plaintiff is not required to show special burden" or altered behavior in order to have

standing): In the cases of such displays, of course, the intended and foreseeable audience

for the government speech is local, and measurable by foot traffic near the display. Standing

for such persons is not defeated by voluntarily passing by the display, moreover, because

involuntary or coerced exposure to government speech endorsing religion is not an essential

element of an Establishment Clause violation. See Engel v. Vitale, 370 U.S. 421,430 (1962).

         Not all government speech endorsing religion is characterized by a ph n sical presence

in the public square, as this case illustrates. In fact, such means arc not very effective as a

wav o communicate with large numbers of citizens. While this change in perception affects

the means of communication. it does not reduce the number of persorb who may now 1-mc

eurc H ,iich governmental speech. The contrary is true. That is certainl y the cac \ n

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in\ n \ C O\ eminent speech at all. unlike Presidential Pra\ er ProelLtin ,. ttious \\ hieb constitute

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to he made kno\\ n to and acted upon LI\ all the cititens ol the I fined tate. A Presidential

Proclamation. \\ ithout an intended audience. \\ ould not he a proclamation at aft I nlike

 "alleN Forue. and unlike cases in\ ok ing local religious displa\ s. thererore. the present

deals with go\ ernment sp ech \\ hich the government intends to be broadcast and made

known to the c t zenry at large. In this circumstance, the defendants only disingenuously

claim that the plaintiffs have "roamed the country" looking for their co plaint. As the

evidence of record shows, the plaintiffs can not avoid the National Day of Prayer bedlam.

       The intended audience for a P esidential Proclamation is also distinguishable from the

intLnded audience for legislative prayer. The Supremc Court has already recognized in

A lleslhenv County v. ACLU, 492 U.S. 573, 603 n. 52 (1989), that Presidential Prayer

Procla ations stand on a different footina than "ceremonial deis such as le lislative

prayer. The Supreme Court st ated:

       It is \\ orth hotin g that just because .1ho . .,h sustained the \ alidit\ ()1 cOsktli%
       pra\ ci. it does not necessarik      \\ that practices like proclaiming a 'National
       Da\ or Pra \ cr are constitutional. I e g islatk e pra \ er does not l.11.22     1(1
       euiHadc ill religiou s prnetice-;. and on that hasis could \\ ell he di,tinuishahle
       lrom tii e\ hortation rrom 1.1O\ ernment to the pcopic that the\ engage
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          \     •N       IL•alIN noted that “\\ hen a g o\ ernmentid bod \ en g itgcs in rLI\ L, FrOr L„clrmld

      c, Hot impose that rL.I\ r oil ilic people. the go\ enimental hod\ k 2_1\ en g reatcr latitude

than \\ hen Oh: noN er11111C111 11111 1 02 -1 M\ er on the p et p e.                  Jud g e Nienie\ er further stated


that e‘ er ince \ harsh. the Supreme L. ourt has continued to reco.2niie the distinetion bet \\ een

pra er erlgiged in I-) \ the go\ ernment for itsel 1 . and pra n er imposed on the people. subjecting

the latter Him of pra\ er to heightened scrutiny." Similarl n , in Van /andt \ . Thoinpon. 839

F 2d 1215 8 Cith Cir. 1988). the Court iewed "a legislature's internal spiritual practices

as a special case. N\ arranting more deference than would be appropriate tbr government

speech projected to an external audience.

          When the intended audience for go‘ ern ent speech is not internal, legal responsibility

may certainly include speech that is republished, such as by the media. The principle is

already well recognized in the law that the author or ori g inator of speech may be liable for

republication or repef tion by third persons if such repetition was foreseeable. Similarly,

government s eakers, like other speakers                              ay intend and foresee that their speech will be

broadcast through intermediaries, including the print and TV media. In tact, the role of the

Presidcnt'           res s Secretary is precisel y to disseminate go\ ernmental                         ech. such as

Presidentiiil Proclamations. so that ih \                            \ he communicated \\ idel \ to the public.

              lere. the c\ idenee H o \ er\\ hellilin g that the indi \ iduai -hittntirk :Ind other I I RI'

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11011-11h1nbln I I the I reedom liom ReIiion Foundation. The defendants o not den \ such



               but           itestion \\ hether the means of the exposure snould count for purposes

     standifq2..

           I he 1    inti ifs are indi\ iduals \\ ho kno\\ of and hear about     eminent speech that is

disseminated find lrojected b n public olliciak. especialk when the n are part oldie audience

intended for the speech. such ds in this case. r he individual pla ntiffs also have conie

contact \\ ith Presidential Pra er Proclamations as part of their w ork on behalloi the Freedom

From Rel gion Foundation, which responds to incorrigible complaints about such Pra n er

Procla ations by members and non-members. The plaintiffs do not roam the country

looking for complaints; they are bombarded with such complaints by persons who object to

the g overnment's promotion of religion.

          It 's naive to ar g ue that a Congressionally-required annual Proclamation by the

President is not on its face o nipresent," and it is disingenuous for the defendants to argue

that "the only thing undergirding this law suit is the plaintiffs desire to advance t heir social

cause and to litiate this case." The evidence of record sho\\ s \ ears oiconsistent opposition

to the National Da n of Prayer. This la \\ suit is not about the -)laintills          social cause: it 's

about their right to be free from prosekuiin pra n er and rehiion in the fOrin of annual

injunctions to —I\
                frin their                 emment. \\ hich in\ driabl\ link rict\ \\ ith patr]c'tii. Hie

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           he indk idual llaintilk do ha\ e the direct and concrete injur\ I"11'N to gi c thCIII

standin to o eel to Presidential Prik er Proclamations and dedications ol National Da n o

Prayc      1 he .a.nt....s are part or the audience intended lor thai goN ernmentai s ech.

the delendants to suelest that these plaMtitis cannot object to that sp 'ech assumes an

arbitrar\ distinction \\ ith drastic consequences:            Requirnig pedestrian exposure as a

prerequisite for standinu ignores the reality ot modern communication.

         Finally, the defendants unpersuasively claim that the plaintiffs are merely complaining

about a generalized grievance that they share with every American. If only that were the

case! In fact, the plaintiffs are non-believers and they do not suffer the ignominy of their

President promoting and exhorting prayer in common with the purveyors of prayer. The

plaintiffs' injury is quite distinct and palpable, as they attest.

         B. Standing Does Not Require Contact Plus Somethina More.

         The Seventh Circuit previously has already rejected the defendants argument in this

case that unwelcome contact with rcli g iou speech "is trivial and therefore not legally

cognithle " A),,)           1 F.3d at 861. In Books, the Count\ arped that the phiintiffs injury

\\ as :ntirci ps\ cholo g ical, and that such injuries. \\ ithout more. do not con ler stitild 11:::1. I he

Court rejected the ticiendant's ar2ument. a oth:r courts ha\ e done in (ZONI CT1111 .,:!11 pecc ii

cases

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       cr i nn,:nt                       thk:n. courts ha\ c L1111101'1111\ found that tht:                          cision

docs liot IlleL111 that ps\ chological iiiwr                   is an insullicicnt hascs orArticic 1H standirv.i. If

this \\ ere not the case. then subsequent judicial precedents prohibiting go\ ernment speecll

that endorses religion would have involved plaintiffs \\ ithout standing. includ* the

Supreme Courts decisions in Coun                                //C o il Ill. cuul                    .olo1lv. Aiiioco           .


ACLU ot Kenotelo. 545 U.S. 844 (2005). In cases involving LH cicoi                                            exposure to

religious speech, "the spi *tual, value-laden beliefs of the plaintiffs are often most directly

affected by an alleged establishment of religion. Accordingly, rules of standing recognize

that non-economic or intangible injury may suffice to make an Establishment Clause claim

justiciable." Suhre v. Haywood Count)). 131 F.3d 1083 1087 (4 h Cir. 1997).

               The defendants, however, demand something more than exposure to unconstitutional

govern ent speech. The defendants claim that contact must be involuntar y or coercive—and

that eitii.ens who pay attention to the speech b oadcast by officials cannot co plain. - 1 he

F stablishment Clausc prohihition on go\ ernmental speech endorsin relhion. ho\\ c\ cr. is

mandutor ` j tnd                              d>sumption ot rkk.              not a dcrcnse.

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                                           that standin ,. ._iN prcLudCd in             I1111::11.1           ea     I   I l.'
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              nZOLIld ha\ (2   oided the harm." M.. Cowl re .,.Ionc,:d n101],,\\.,;

                 ,\ ernment eontends that Plaintiffs e\poStlre to the cross should be
         disregarded lOr purposes ofstandin g 1)ceause Plaintiffs could ha\ c Li\ oidcd the
         harm. 1 lo\\ \ er. the Se \ enth Circuit has c\press1\ rejected such an arL11.1111C111.
         and the Court adopts its reasoning. In :1.o;tTica1!                     .;:10.(.. v. C.
                           Th-) 4    2.(if-; ( 7 th Cir. I 9S6 ( Posner. f . .          Cireuit
         responded to 1)elendant's contention that "plaintiffs ha\ e inflicted this cost on
         themsel\ cs and can a\ oid itb\ continuing to follo\\ their eUstolltar\ routes and
         shrug.gin g ()If the presence of the ... cross... 7941"."2d at 268. 1 he Court held
         "that the injur\ to the Plaintiffs could ha\ e been ZIVerted . . . did not depri \ C
         the plaintiffs of standing." comineming that "if I the\ I lacked standing . no
         one v‘ ould ha\ e standing." hi. at 208-69. 13\ the government's lo g ic. all
         individuals offended b\ a religious displa y could a\ oid it and there()) not be
         harmed by it. Such an ar g ument flies in the face ofstanding jurisprudence and
         would render the Establishment Clause a nullity."

Buono. 212 F.Supp2d at 1211. In Books v. City of Elkhart, 235 F.3d 292, 297 (7th Cir.

2000), the Seventh Circuit also concluded that plaintiffs had standing, e en thou g h their

injury was based, at least in part, on the fact that they "know the [religious symbol] is there,

whether [they] see it or not."

         The claim that the plaintiffs failed to avert their eyes and cover their ears is not fatal

to s andin g . Even deliberate "testing" is sufficient for constitutional standin g purposes. In

          Rea Corp. v, C Ic/Hull. 455 U.S. 363 (1 kM2), for e\alnple. the Supreme Court held

that testers" have standin g to brin g. suit for alleged violations ofthe l•

    h le the tester had no intention ofhu\ in g , r renting                                       thc


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Supreme ('-'mrt* ioic hi 11,,'                   R       \\as     ised on the Ihet that discrimination is still

   n..71111111:1 1:1011. \\ Ilene\ Cr   iiOk.':.1.11.   I IlLs 1,11/4:1 that WI indi \ idual          disco\ Lsr

 iscrimination does not render that person an inappropriate part n to complain.

            I he ;11'.2.11111elit Cor siaiidui g in the present Cl •• L'           ‘:\cii 11101 . 0 COnIrChillIL   I 11C


 -stablishment Clause prohibits go\ ernment officials irompromuhaating speech that endores

religion. l'his constitutional proscription \\ ould be violated even iithe go\ ernment tried to

discreet l n favor reli g ion. such as \\ ith a "PG"arning
                                                     \\    on Presidential Proclamations. I lere.

in the pres nt case, the go \ ernment speech at issue actually was intended to be broadcast and

to become known by all Americans, including these plaintiffs. As part of the intended

audience, who are the most injured by bein g asked to pray by their President, they certainly

have the right to complain. In fact, dedication of a National Day of Prayer changes the s atus

of that day for all citizens, as to which status even commercial calendars attest.

        The defendants argue incorrectly that govern ental speech endorsing religion cannot

be called to account by non-believers who "voluntarily" come to kno\\ about the actions of

their go\ eminent. including government speech promotin g reli g ion, The delendants argue,

in eimcl. that the\ an y endore re igion \\ ithout objection o long a e\posure t ,uch

government ›peech j, not 1,,rc:ed oi L:oL.1 - n:ed. In l'tct, hov\c\ er. coercion i› not it necearv

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  stablishment      1ause iolation       ould make t               .\ercise Chiuc redundant,

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It ak \\ oulti I . cnder the l.stahlkhntciu Clause a nullit n .


         I . mall\ . the defendants i‘ 'lore the fact that the indi\ idual plaintiffs are literalk

bombarded \\ ith National Pra\ er Da\ messaes that "one can hardk a\ oid. -               1.11.L.‘   National

Prayer Da\ Proclamations have been kiltm u to these llaintilis for                   n ears. horn print

and broadcast media. as \\ cll as from FFIZT members and the public. The p lainti rk steadfast

opposition to such offensive govern ent speech, as a result, is itself ubiquitous--and quite

sincere.

        The injury to the plaintiffs is actually emphasized by the defendants' insinuation that

the plaintiffs should just "butt out if they don't like it." The problem of religious

endorsement is that some become insiders, while others are made to feel like political

outsiders. As the plaintiffs have described in sworn s a e ents, that is the case with

Presidential Prayer Day Proclamations. The defendants, however, accept that distinction as

normative by implying that the tdaintiffs should not look or listen to the President.

        C.      The Pktintilts . Discriminator y I reatment :1.s a Result fl 3 1 . esidential National
                Da\ ol Pra\ er Proclamations •lso 'ro\ ides ZI hii lr StandillL1.

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dis \ ored group or h\ len\ ing benefits ti)J ie Ib ored g roup.      1 For instance. in R

                                                                n. 14 (19 - 8 ). the Supreme Court

                      medical school applicant \\ ho \\ as denied admission had standiru.1 to

chailen g e the schoors race-based.,idmissions       oho rcprdie         \\   hether he shm\ ed "that

he .\\ ould ha\ c h en admitted in the absence of the admissions policy.            the applicant in

13ak            "the constitutional requirements" of standinL, )eeause he had been denied a

chance to compete for admission on equal terms. Similarly, the court said in 1 lcclaer

Math vs. 465 U.S. 728, 738 (1984), that the Court frequently entertained attacks on

discriminatory statutes or practices even when the govern ent could deprive a successful

plaintiff of relief by withdrawing the statute's benefits from both the favored and the

excluded class.

           This "level playing field" analysis, though typically seen in Equal Protection cases,

also applies in First Amendment cases. Planned Parenthood of South Carolina. 361 F.3d

at 790. Just as the plaintiff claimin g discri ination under the Fourteenth Amendment has

standing to seek a le\ el playing field, so, too, does the plaintiff claiming viewpoint

discrimination under the lirstAmetidment. In short. \\ here. as here, the plaintiffs challenge

thc law on the ground that it promotes H1 Oppoii1 .2 ie\\ point above their own.              to the

prom; Hon                   rdi2io11, thL2\       co2nitablc ml urv t hat can be rcdreed H the

       L                                                                            -.3d at   0,

                                                         Hon. and Clic           L'n:spyoL. in,Hon



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               itional Da\ of Prii\ er. promotesi 1iion O\ er non-re igion. despite the fact that

the plaintil k ia\ e theinsek     requested that go\ eminent offieiak issue eounter-bidaneed

proclamations. such as LI\ proclaiming a Da\ ot Reason. Characteri/in g the reie\ ant inillr\

as the inabilit\ to obtain their o\\ 11 proclamation. Ilim    crt Iseures the eonstitutional nature

of the harm in this ease. Ihis ctise is not about people seeking proclaimitions of their choice:

it is about NNikTher, by enac ina National Day of Prayer legislation. the go crnment has

impermissibly favored one viewpoint over another. There li.)re. "the sounder approach is to

recognize discriminatory treatment as the actual injury and to accord the plaintiff standing

on that basis." Id.

       The defendants' arguments against standing are not convincing. They claim that thc

plaintiffs have suffe ed no injury because the National Day of Prayer Act, though failing to

authorize expression of the plaintiffs' viewpoint, does not prohibit it. This contention

ignores the obvious. Although the expression of the plaintiffs' secular viewpoint is not

explicitly prohibited, it is effectively prohibited by virtue of what the Act requires, i.e.,

declaration of a National Day of Prayer. The plainti lTs, ther elore. cannot. as an alterna

participate in an "official" dan promotin g their \ ie\ n point. I'urther. the defendants "fail to

recogni/e that the plaintiffs need not sho\\ an explien prohibition on their speech in order to

claim di,1/4:riminator\ Ircainient.   Id. The                Ina\ hae thL'ir claim k             tho


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           1 nall\ . and r le\ ant tl ) the defendants' prudential argument. th plaintiffs are

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standing to the plaintirk. it is unlikek that an\ one \\ ould ha\ c standing. and the Act \\ ould

effeeti\ el\ be immune rrom atLic ld. citin2. Orr \ . Orr. t S. 272(19 9 ) granting

standini2. atter reeognitim2 the possibilit\ that a statute \\ ould othem ise le immune rrom

attack).

       The viewpoint discrimination explicit in National Da n of Pra\ er Proclamations is

prohibited because it pro otes and encourages religion, which is prohibited by the

Establishment Clause. The Free Speech clause, by contrast, has no application because it

restricts government regulation of private speech; it does not regulate the govern ent's own

speech. This does not mean there are no restraints on government speech, however, as the

courts have consistently recognized that government speech must comport with the

rlstablishment Clause.       Government speech encouraginu and praising religion shows

prohibited advocacy of a viewpoint preference. As a result, under the principles discussed

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adjudicatHi of their complaint.

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consequenccs c.lused ft ivn Lr D'I\                             hich imped- the iceomplishilient ol We

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merek P\ dedicatin g resourees to the accoinplishment ofor g aniiational oak.\ defendant's

action that affects the ability of an organitation to accomplish its goals. him e\ er k a basis

for constitutional standing where the organization dedicates resources to uncover and

overcome the defendant's wrongful conduct.

           Here, the Freedom From Reli g ion Foundation has organizational standing to sue based

on its own injury. The Supreme Court recognized such organizational standing in Havens

Realty, which makes clear that the only injury necessary to confer standing is allocation of

the or g anization's resources to efforts directed against the wrongful conduct of the defendant.

See Bellwood, 895 F.2d at 1526. In both Havens Realty and Bellwood, the plaintiffs

allocated resources in order to investigate and uncover the defendant's illegal discrimination,

causing the plaintiffs to suffer an injury-in-fact.

           In Fctir nip1m .111( . 1n     /./rci ofGrealer li .cishinerion, Inc. v. B.MC.   I    <   Orr)




28 17 .3d 126S, 1          (ll.C.Cir. 1994), the COUrt ' lso held that an or g ani/ation s need to

'counteract the defendants' lssertedly illegal practices"                  sufficient to confer standing

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allocation of              s: -sources to efforts directed a g :nnst discrimimition). fin short. the

tireuit Courts aree that an organization meets rticle 111 standing requirements \ n here a

defendant s           aetions cause the or..2,anization to de\ ote reSt i llree to combat the Hfects

of the allegec \NI-01112Thl ictioul.        ran-housin g Council ot Suburban Philadelphia c,

Montuomer\ Ne\\ spapers. 141 I . .3d 71, 78 3rd Cir. I 998

          he Courts, includim4 the Se \ enth Circuit. ako do not consider the dedication of

resources to be me ely a self-inflicted injury, contrary to defendants argument. In Crawford

v. Marion County Election Board. 472 F.3d 949, 951 (7th Cir. 2007), for example, the Court

expressly held that an organization suffers an injury when a statute "compels it to divert more

resources to accomplishing its goals." The Court further held that "the fact that the added

cost has not been estimated and may be slight does not affect standing, which requires only

a minimal showing of njury." Id., citing Friends of the Earth. Inc. v. Laidlaw Environmental

Services, Inc.. 528 U.S. 167, 180-84 (2000). In reaching its decision on standing, the

Cim ioc/ Court follo\\ ed a line of case                leginning with I Ia \ ens Realt\ . holding that an

or g anization has siindin to sue on its o\\ n behalf if a defendant's illegal acts cause the

organization to allocate reSollree to counteract those iIleal acts. I hese injuries are deemed

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1-.3d 1 53.      I (Th I 11 di Cir. l1( . ) S ). the distinction bet \\ cell actions negatin g the eflOrts of an


organization. \\ hich is admitted1\ an injur\ underlla\ ens Realt\ . and W1 Jct or la\\ mere \

causin g the orpilization to oluntarik di\ ert resources in response. finds no support in the

law, \\ lien the Use of an organization's resources arises from "the organization's need to

counteract tilL defendants allegedl\ ille g al practices, that drain is simph another

ma festation of the injury to the organization's noneconomic goals."                              citing Liir

Emplm .ment Council of Greater Washington, 28 F.3d 1267-77.


         The defendants naively claim that line-item accounting of dedicated resources is

required for organizational standing. The fact that an organization does not record time

allocated to specific efforts does not mean that it has unlimited resources; nor does it mean

that tasks are not performed which utilize limited resources. Under the defendants'

reasoning, a law impeding voter registration causes no injury to an organizat ion that reOsters

such \ oters unles, the emplo y ees punch a clock before goin to \\ ork —and e\ en then the

defendants \\ ould den y an\ relief gi\ en the organization's purpose and mission. 'hat is

simp n not the km.

         In this eae. the di\ crsion ol personnel. time and r1/4:oltrk2k.i> N\


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setting ol 40.00d obser\ aiiees ill -){ ) ( ) in at state Capitok. C01111t\ courthouse oh the s

       halls. and in schools—just      \ the NDP I ask l'OrcC. Ali :7' 1) states I10\\ proclaim a

dedicated Da\ oftra \ er to coincide \\ ith the President's proclamation. As a result. a massi \

nation- \\ ide      ulsion of Ltovernmental endorsement occurs, which undermines the ability

of the Freedom Fro          igion Foundation to accomplish its goals and requires the dedication

of substantial resources to counteract the ef1cts of the defendants unconstitutional act ions.

This dedication of resources, moreover, is not measured by the costs of the present litigation.

The Freedom From Religion Foundation dedicates internal resources responding to, objecting

to, and advis ng members regarding the government's exhortations that the nation enga ge in

prayer. The defendants concede such efforts, but snidely imply that this is just what FFRF

likes to do--as if a policeman likes crime!

        The National Day of Pran er, proclaimed by the Preside' t while promoting and

encouraging citizens to engage in prayer. clearl n affects the institutional interests of an

organi/ation like the Freedom I rum Religion Foundation. [he Foundation i - dedicated to

inaintainin.2 the separation or church and state required          tIlL l tahlkliinent Clause.. 'Nis




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atiOL:',111011   IC   LICC t   cdIC    the delendants uncon:-:titutional action. 1 hc dedication

      National.D.1\ 011 ) L1\ erh PrC`;Illent11.11 proclamation. ptiruant to a -)L'H a
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ol               opiJe a• an institutional harrier to the accomplishment ol the

or:Lini/ational ohiccti e      I he Freedom From Re igion loundatioii. according] . does ha\ e


organitational standing to challenge the overnment's annual " o:e in the e e. which

constitutes a concrete and particularized injury.

          Finally, the edom From Religion Foundation also has represen ational standing

based upon the standing of its members, including the individual plaintiff members and other

FFRF members opposed to thc Na tonal Day of Prayer. Hunt v. Washington State Apple

Advertising Commission. 432 U.S. 333, 343 (1977). The named plaintiffs have standing in

their own right, as discussed above, and other members have also attended and protested

Prayer Day activities, including at state capitols. The defendants concede the awareness of

and objection to such activities by FFRF members, in their own Proposed Findings of Fact,

which is sufficient to provide representative standin g for Fi•

IV. THE PLAINTIFFS' OBJECTION 10 CONGRESSIONALLY-MANDATED
     NATIONAL DAYS OF PRAYER IS NOT MOOT OR SPECULATIVE.

         Thc d                                         tha, pluintilk • obk:Lstion to dcdication› ;Ind




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pra n er prelainations            moot because past proclamations are -histor\             and Hture

proclamation, supposed1\            eculatk e. I he defendants ipore that the l'reident

                  .ttional Da \          P1'1\ er cich n ear. and thc President nas not disavo\\ ed the


practiee I urtherinore. ahtholq.111 the defendants claim that rm .\ er proclamations are

historical K uhiqunous. and statutoril n mandated e\ ern ear. the\ do not eN en stigi2est that an\

reason exists to belies e that President Obama will diseon inue issuine annual pra n er

proclamations as he did just this ear—or that he will forever be President. On the other

hand, the defendants' argument vvould hake the practical ellect of insulating in perpetuity a

challenged practice that occurs every year.

       This case tits comfortably within the established exception to mootness for disputes

"capable of repetition, yet evading review." Davis v. Federal Elections Commission, 128 S.

Ct. 2759, 2769 (2008). That exception applies where the challenged action is in its duration

too short to be full y litigated prior to cessation or expiration, and a reasonable expectation

exists that the complain ng part\ 'Ube subject to the same action again. Id. That is clearly

the case here -          d speculation.


       Even if the President unexpectedly chose to impose a moratorium on further pra n er

proclamations. that \\ ould not moot the , lainti I s eTh.,e or make it unduk              leculati\ e.

v,dunuar\         itin oH challen g edrractk:c docs not moot pL..ndin g aL;tion.               cwinot

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  strinn,u t standard Lr det1/4:rminin       \\ heth-r an istie ha been rendered int by a

delendah'        oluntar\ conduct: .1 ca,e       id i become moot if subsequent \ en'H made it

 h01111t2k dear that the aliened!' \\r ndul Heltr n ior could not rc i. sonabk be e\peetH


recur.                          WILV                                                                      t) 9.


 1 9 08      he part\ tisserting mootness hears a hea \ \ burden of persuading the c. ourt that there

is no reasonable expectation that challened conduct will reappear in thc future.


:Alio). Inc. v. aidlow Environmcmui Scrviccx. Inc_ 528 U.S. 167, 189 (2000).


          The defendants have not satisfied th heavy burden." In fact, the defendants point

to the Congressional enactment directing the President to issue annual prayer procla ations

on the first Thursday in May as support for their position, and the Congressional enactment

has not been repealed. The defendants also offer no evidence that the President has

implemented an institutional prohibition on future enforcement of the law, which directs him

to issue annual prayer procla ations. In these circumstances, the defendants' claim that this

case is moot or speculative is totally unsupported, even by so much as a purported declaration

of a temporar\ moratoriurn.

          A moratorium. in an\ e\ ent. would not render the plaintiffs' action moot. The Scvcmli

Circuit c . ognited this in P                                  8 l'.3d at 99'). \\ here the nun rejected

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pro             :un ordininLe until thc ill'att:":1red 'cd .          lie Seenth            ir011 iound that this:


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lilted AI all\ tinle The Court. premised its holdin upon the decision in ( 71,

            b I U.S. 95,            19S           \\ here the Supreme our( held that a moratonum did

not render a claim iiioot because the moratorium I I \ 11`, tenn \\ is not ''Cni-Kuicnt.

       •/          kid     i 4. I         ( )th     F. 'MU ) ). recosmiiim2 that a moratoriuln. \\ hich "by


its terms \\ as not permanent." \\ oiild llot moot an othem ise               elaim for          \

       lf the defendants had actuall n announced a temporar\ moratorium in this ease. it

would not render rnoot plaintiffs' claims. But the defendants have not declared a moratorium.

The defendants, instead, mere n suggest that the likelihood of future objectionable pra n cr

proclamations is uncertain. This does not make it "absolu ely clear" that their v

behavior or conduct cannot reasonably be expected to recur. On the contrary, President

Obama has already continued the practice of issuing prayer proclamations which call upon

Americans to engage in prayer.4

V. THE PLAINTIFFS' CLAIMS ARE REDRESSIBLE AGA NST THE
     PRESIDENT AND HIS PRESS SECRETARY.

       The defendants further contend incorrectl y that plaintiffs clai s arc not rcdressible

by this Court aainst the President. Althouah C maress has directed the President 11\ statute

to declar     Nationui Day of Pm\ er each \ car. thc delchdanK asert thai thc Prcident
       Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 35 of 76




LIllLdJ is .1 solute!' illumine from suit chidlenging the constituti(nalit \ o such legislation.

   liether thc Ereident        edication oil    ationiii 1).1' H Prii' Cr \ Hales t IL' I 'lL1hlk11111C1It

            or m    I lc defendants claim that such acts cannot be pre\ ented

' the delendants. lio\\ \ er. misread the authorit\ on \\ hich the\ Fel\ \ nell authorit\ does not

prohibit suit against the President as to the ministerial act of declaring a NAonal Da\ of

Pra \ er.

            The United States s \ stein of go \ ernment is founded on the rule °Ha . hich includes

the necessary function of an independent _judiciary. The judiciary, in a sn stem of separated

powers, has the right and the duty to determine the constitutionality of legislative and

executive ac s. That is what courts do. The present action, therefore, seeking a

determination of the constitutionality of Congress' direction to the President to declare a

National Day of Prayer, is not an unprecedented or questionable "usurpa on" of power by

the judiciary.

        The Supreme Court has recognized the general principle that courts should not

interfere with the e\ercise of Fxecutive discretion. Scc                       Johnxon. 71 U.S. 475

086(i). The Court. ho\\ e\ er. hits e\press .n "1 'ft open the question \\ hether the President

mii2ht besubject to a judicial injunction requirin the p eriOrmance of a purck

                                                                k)Lr
     Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 36 of 76



          -rhc Supreme Court ea\ e",ii                 reg.ardiml ministerial" duties. recoLmi/es

that judicial inquir y as to the conslitution L
                                              • tlit\ o!a Pr   idenis ministerial t ioIt does not


imp icate se aration        , OYY er concerns. IC Congres lreseril-)ea nmiterial dutY lOr the

President. then judiciai scrutim of the constitutionalitY ot that il.s .!2.1SILi1i\ t2 mandate does not

in the First instance require a court to eY aluate the President's exercise of discretion. file

defendants - argument to the contrar y would mean that unconstitutional legislation directing

the President to act could never be challenged.

          A ministerial duty is one that admits of no discretion, so that the government official

in question has no authority to determine whether or not to perform the duty. Swan v.

Clinton, 100 F.3d 973, 977 (D.C. Cir. 1996). A duty is disc et onary if it involves judgment,

planning, or policymaking; a duty is not discretionary if it involves enforce ent or

administ ation of a mandatory duty at the operational level. See Beatty v. Washington .1letro

Area Transit Arithority. 860 F.2d 1117, 1127 (D.C. Cir. 1988).

       The plaintiffs seek a determination of the consti utionality of a Congressional Act,

which i         ething this Court is not prohibited from is.suina. Courts frequentk rule upon

the constitwionality of ,2klative actions taken by Congres. Declaring the onderlY ing

Conure,ional Act unconstitutional in this case, there lOre. doe, not intrude upon the

contitLnnnal authoritY cstcd in the Pic.ideitt. fhe Preident ation can be re\ ic\\ ed                r


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0,1titutioiaii\,„ , \,:riirdh:\ ',Ire not re \ ie\\ able ror abuse oldiscretion.               t

                                                                343 t                     /'




         Suit 11.2.ainst the President's Press SeLTetar\ , morem er. does not nllse the

immunit\ issues in\ ol \ in ,J the President. I he plaintiffs ha\ e sued the President's I

Seeretan Robert Hibbs, seekin:2. an iniunctiot aLlainst his dissemination ofNational Day of

Pra n er Proclamations, which are the proclamations at issue in this case. This claim does not

implicate immunity issues because the plaintiffs alleged injury is likely to be redressed by

declaratory relief against the Press Secretary. Franklin, 505 U.S. at 803; Duke Power

Company v. Carolina Environmental Study Group. Inc., 438 U.S. 59. 75, n. 20 (1978); Allen

v. Wright, 468 U.S. 737, 752 (1984). In fact, the defendants do not really argue to the


contrary.

         Concern about confronting thc elected head of a co-equal branch of government,

while still ensuring the rule of law, can be successfully accommodated when the injury at

issue can bc addressed bv injunctive reliefauainst subordinate officials. \\ hich the defendants

do not den\        cii 100 F.3d at 978. Sce al.vo 13a.,                    F2d 21 (D.C. Cir. 1985)

(Court upheld declaratorn und injuncti \ e relicito nullifn President's attempted pocket \

It is       stantiall\      \.   nioreo\ er. that th   1reideiit \\ ill abide
      Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 38 of 76




directi c to his Press L'CIVI11'% C\ en thou,,...„Th the Presik. ent ma\ not direct   e lound h n such

  deteriliimition.                      f‘+)5 t

         lere. thc , Luntirk' icioii ictini thc President and his Press `iecretar\ is not barred

   sel\iration oi po\\ ers priiples. on the contrar\ the deiendants seek to c\ HCCMIC and

limit the constitutional authorit \ orthis Court. \\ hose role is to interpret and app n the t nited

States Constitution, including the requirements olthe I stahlishment Clause. l'he prohibitions

of the 1 stablishment Clause. moreover, are not discretionar y ; the Establishment Clause is a

mandatory and self-execu mg limitation, and the role of the Court is to finally interpret and

apply its proscriptions. The claim that the defendants are not subject to the rule of law

misunderstands the necessary role of the courts in our system of government.

VI. PRESIDENTIAL PRAYER PROCLAMATIONS AND DEDICATIONS OF A
      NATIONAL DAY OF PRAYER GIVE THE UNDISPUTABLE APPEARANCE
      OF RELIGIOUS ENDORSEMENT.

       A.      The Endorsement Test is Fact Dependent.

       The defendants claim that official Prayer Days have no coercive effect and that they

are like legislative pran cr or other examples of ceremonial deism, as a matter of law, and

 ith,.)tit reard ibr actual Idct. In this r       lect. the &rcndLints' Proposed 1 indins of Fact are




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                                    1   tilc:                                                     ILl
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notable for the absence of i. n\ proposed ibct relating to the merits or thc case perha

 1 Cea1l>e LA1,011,11;011, H       r We sake       , ra\ Cr. eannot inc.rL   1c interpreted

an\ thing other than re igious endorsement.

        Proclaiming a :\ ational Da\ of Pra \ cr has been described \ the Supreme Court. in

   leL2. len\ Count\ . 492 U.S. at 603 n. 52, as an exhortation Ii .om co ernment to thc peop e

that they engage in religious conduct." In addition, Presidential Pra y er Da y Proclamations,

including those in 2008, are orchestrated with the NDP Task Force, a latentl y CN angelical

organization dedicated to the pro otion of Christianity through public prayer. As a result,

the content and context of Presidential Prayer Proclamations and Prayer Day dedications give

the appearance of endorsement, including specifically the Christian faith, in violation of the

Establishment Clause.

       The defendants also ask the court to ignore the history of the National Day of Prayer

legislation adopted in 1952, at the instigation of Billy Graham, as well as the 1988 Act

requiring that the first Thursday in May be the fixed National D 1\ of Pra n er, in response to

lobbying by conservative religious groups. particularly the National Prayer Committee and

the NDP Task Force. The 1988 Act, incular,
                                      par, facilitated the mobilization of the re iciotK

viewpoint of the lobb\ its behind the Act.

       The d-iendant› a so ignore the undkpated hktrieal fact th a. t                  Dav


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                    Ll       relins endoi'sement 11\ the President and the go n ernment.

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          he t.telendants ignore \ irtuall\ uIIol the lacts relating to the context ()I Presidential

Pra\ C' Proalinalions. Lis n\cliLis the source oi content for such Procidnrntion ineorporated

at the behest ottlic DP task 1 . orec. the defendants. nonetheless. irgue that an objective

obser\ cr ' of the President's Prayer Procla ations would not construe them as re igious

endorsements - - but presumably only if the "objective observer" is deemed not to bc aware

of the history and context of the Prayer Proclamations, including the concerted action

between the President and the NDP Task Force.

        Thc Supreme Court's endorsement test considers whether a reasonable observer aware

of the history and context of a religious event would find the event to have the effect of

favoring or disfavoring religion. The courts are to ask whether an objective, reasonable

observer, aware of the history- and context in which the religious speech occurs, would fairly

unders and the speech to be a government endorsement o1reiiion. Book.c. 401 F.3d at 867;

                                                          0 L.S. 290, 308 (200o       This standard

                    person H ordinar\ understandillg. and sensibilit y. Ihmiliar             ith the

dreilliNtLinces ,, lirn q indinLI the     ernment s              er\ j()\ erilnILIII practice must
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judged n its unique cir itnstances to determine \\ hether it constitutes an endorsement or

iii         n JI orrLsiiik.11   H tl-wc ourt c\pl a. in t:d in

        d                 -th C.ir.

         nder the second prong Lnooj.\\ e ask. irrespecti\ e oi the State s stated
       purpose. \\ !tether accepting this monument bOr displa n on the Statehouse
       grounds has the primar\ effect of C011\ eN n a message that the State k
       ad\ ancing or inhibiting religion. lhe question is: \\ ould a reasonable person
       Nene\ e that the displa\ amounts to an endorsement of religion? An important
       conct:1 • 11 01 the effects test is \\ hether the s y mbolic union of church and state
       effected n\ the ehallenged L;overnmental action is sullicienti\ likel\ to be
       perceiN ed by adherents of the controlling denominations as an endorsement,
       and by We non-adherents as a disappro n al of their individual religious choices.
       Again, to answer these questions we examine the content and context of the
       display.

       The Establishment Clause is concerned with the message that the government may

send to its cit zenry about the significance of religion. See Lynch v. Donnelly, 465 U.S. 668,

692 (1984) (O'Connor, J. concurring), cited in American Jewish Congress v. City of

Chicago, 827 F.2d 120, 126 (7th Cir. 1987). Government messages of endorsement and

preference impermissibly send a prohibited signal to non-adherents "that they are outsiders,

not full members of the political communit n and an accompanying message to adheren s that

tho ar nsiders. la \ ored mciiibers (lithe political communit\ ."                         -.S. at 688.

                                545 U.S. at SW0 -6 I H ›ilo\\ in , „2. 'a purpose to la\or rel i g ion, the

go:FniTh2nt ›L'uld a nc›                 non-adherents that the\ are outsiders indeed, the apparent


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purp               erinnent action c.in Li% an impact Inoiv snmilicant than the restilt e\pressi \

  ecreed. 11             Lo\ ,frnment justilied a decision \\ ith       stated desire o honor Christ. the

di \      e thrust of thc al            action \\ , uld be inescapable. )

            ilC tct I endorsement under the FstThrndlinent Clause is anahTous to the standard


for determinin \\ hether a statement StIggCsts a discriminator\ prelerence to an ordinan

reader or listener, I he recognired sttindard for determinim,2. \%hether a statement e\ inces

disLi imillaton preference is whether the statement suggests a pre terenee lo the ordinar\

reader or listener.'             air Hells      onvess v. Webcr, ()Q3 F.Supp 128n. 1290 (CD (A.

1997).         iolation occurs \\ hen a communication either implies an obvious discriminator n

preference OF \\ here the ordinarn reader Would infer a particular discriminatorn preference.

Id. at 1291 citiml Bloniven 1'. 0                  850 F.Supp. 1427 1440 W.D. Wash. 1993 ). The

relevant standard applied in such cases is defined in terms of "the natural interpretation of

the ordinarn reader." Id.. eitim2. United 57ates v. Jiiiiiier. 49 F.2d 205. 2 I              4th Cir. 19

If a message sug g ests to an ordinarn reader a proscribed pi eferenee. then the lil\\ is violated.

Id       he ordinan reader is neither the most suspicious, nor the most insensitive of our

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          ht the pre,L.111 case. the deIc. iidants not ()ilk ignore the kictual contc\1 of


aLilal      1\\ een t-L. President and the s.\             1,1,   orec. the'_,     iLtno •       Lact th.,1
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reasonabit:       lser\er j‘.; ,..1 .\\ are Ilmt lra\ er is a quillteential relklioft, practice. and tint

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ne\ er            111 n2 '‘ccuLti'   purpo.se requirement nece:;sar n 1 r

                                         t. '4)21 2d 824. $30 (11th Cir. 1 .>$ 1)). In ract. these priiciples

\\ ere upheld i           (Ionr Prom Rcilion Forindotion v .                  93-CV-6056 (I)istrict Court,

City and County of Denver, Colorado. 1993), in which Judge McMullen enjoined Denver

Mayor Wellington Webb from actively participating in a Day of Prayer Against Violence

cere ony:

          The challenged conduct here is Mayor Webb's press release and press
          conference endorsing the Day of Prayer. Since prayer is exclusively a
          religious act, the endorsement of a Day of Prayer would logically be
          interpreted by a reasonable person as an endorsement of religion. Because
          from all appearances. Mayor Webb was actin2 in his official capacity in
          issuing the press release and conducting the press conference endorsin ci, the
          Da n of Prayer ; the Court concludes that a reasonable person would interpret
          his conduct as 2.overnmental endorsement of religion. As such, it violates the
          Lstablishment Clause.

         The constitutional it n ofPresident al Pra n er Proclamations cannot he properl n decided

           collidl:FIPL2,   the evidence of historN and context. The deiendants. ho\\ e\ cr. W't:

OH\ iotK to the precnt da\ realit\ that the National I)              ,q • Prs.t \ er lia 11,2 con i c      \\

die      tThli,hment CLtue is intoldcd                cm: .\ hattle :2.round \\ itJ the           ernment dee
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bet \\                ' President and thc NDP I tk 1 . 01 . L'c        the dedication ‘. ind celebration of

                   1).i\ r s 0 Pra\ cr. includii4L collaboration on the content 01 the official PL1\ cr


Proelamations.              I he defendants. ho\\ \ er, ignore all of the factual detail about tins

relationship between the President and the N DP Fask Force, N\ hich relationship pi . i)\ ides

context that is relevant to wh- her a "reasonable observer," knowing of this concerted action,

would find that the Presidents' Prayer Proclamations and Prayer Day dedications give the

appearance of official endorse ent of religion.

             Context and con ent do count in determining whether public officials have crossed the

line between "benign ceremonial deism" and actions that g ive the appearance of official

endorsement of religion. See Allegheny County, 492 U.S. at 598-600. The defimdants.

nonetheless. simply Ignore the evidence as if it did not exist. This is not a proper approach

for summary judgment. The court must instead consider the evidence and draw reasonable

inferences in favor of the non-moving parties. This the defendants fail to do—instead. they

trv to skate by without anv evidence going to thc merits.

             13.       The Supreme Court 11 u Not Vpro\ ed 1 re-idential Pm\ Cu DL1\
                        DCdicLition,.




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        The derendants incorrectl n hnp \ that l'ra\ er       clamations ,. ind dedication of Pia\ cr

Da\ constitute nothin:111 lorCle4ments ol the historical role or reHon

ill our nation's histor\ that ha\ C alreau\ been appro\ ed b\ the Supreme Court. I he lacN tell



a di rerent stor\ . 'ra\ er     ciamations are not Just honorar\         the\ are hortator\

        file Report of thc Senate Committee on the Judiciar\ relating to the Nitional Da\ o

Prayer belies the defendants claim that the National Day of Prayer "is simp ly

                    of a tradition." The claim that Congress in ended the National Day of

Prayer Enactment for the secular purpose of "acknowledging the role of faith" in the Nation's

history is simply not true. Instead, the Senate Report describes the intent of Congress for the

people of this country to "reaffirm" the Nation's supposed deep religious convic

       It would certainly be appropriate if, pursuant to this resolution and the
       proclamation it urges, that the people of this country were to unite in a day of
       prayer each year. each in accordance with his own religious faith, thus
       reaffirming in a dramatic manner the deep religious conviction which has
       prevailed throughout the history of the United States. (See Exhibit A attached
       to this Brief.)

       The intent to "reaffirm 'n a dramatic manner" the supposed religious convictions of

the nation does not reflect the CHIlled • CCI.Ikir purpose H merely acknow ledeimql the

supposed role of'reiiioii in the nation's histor\ . Instead the purpose of the National Da \ of

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(\ eeks or crusading H Rc\ erend             (iruham.

         igniticiintl\ the Senate Report on the NAtIoIlaI DLI\ or Pra\ ei I                islation

e\poscsi \ cry trouhlesome historical inaccurao . 1 he Senate Peport stat• s s that \\ hen the

delegates to the Constitutional C011\ ention encountered diniculties in the \\ riting and

formation of a Constitution lOr this Nation. praN er was suagested and became an established

practice at succeeditw sessions." That statement is wronu. but it lies at the core of the

defendants attempt to justify the legislative enactment calling for a National Day of Prayer

in 1952, more than 150 years after the signing of the United States Constitution. Leo Pfeffer,

Church, State & Freedom (1967), describes the real facts at page 121-122, in his scholarly

examination of the Establishment Clause:

       It is perhaps symbolic of the difference in the relationship of state and religion
       between the Continental Congress and the new government established by the
       Constitutional Convention of 1787, that whereas the Continental Congress
       instituted the practice of daily prayers immediately on first convenina, the
       Convention met for four months without am recitation of pra y ers. After the
       Convent ion had been in session for a month. the octoilenHan Franklin, who
       in earlier \ ears had heen pretty much of a Deist. nio\ ed "that henceforth
       pra( ers implorMg the assistance of ilea\ en. and its blessings on our
       deliberations. he held la this Asseinh1( C\ Cr\ morning helOre \\ e proceed to
       1-q i ,ines; . and t hat one or more of the Cierg\ of this Cit\ he requested to
          Iliciate in that ser\ ICC. " I he motion \\ as recei \ ed politek though not \\ ithout
       embarrassment. Accordin g to the records or the Con\ ention.                      ,c\ eral
       llfliCCCl11i                              ro,trwniFq:. the iniitter


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       adjournment          it length carried. \\ it1iut',111\ \ Ott: On the motion.

       More than s\ iribolic. it is deep] \signii ric ,. int that \\ hereas there \\ scarcer\ a
        oeument or promulLiation issued b\ the Continental Congress that did not
       cont.tin   in\ l'Cition tl ) "t. lod" or ne HllIcl111111L1 . 01.1 •>\ non\ ms of the Deit\
       the onstitution emerg,in,,r.1 from the Con\ ention contained no such in \ oc;.ition
       or reference. Hns omission \\ as not inad\ ertent.

       The different treatments 0 Ic icion 11\ the Continental Ck)n ress and the

Constitutional Con\ ention is significant in its imp ieflions about the ,upposed historical

meaning of the Fstablishment Clause. Leonard W. Le\                     77u . .ctahlishinent icnov:

Rcill*011 and the Fir.tt linendinent (1986). notes this sign t cance, as well as the historical


confusion still being perpetuated:

       The Constitutional Convention of 1787, which framed the Constitution of the
       United States. gave only slight attention to the subject of a Bill of Rights and
       even less to the subject of religion. In contrast to the Declaration of
       Independence and to man) acts of the Continental Congress, the Constitution
       contains no references to God; the Convention did not even imoke divine
       guidance for its deliberations. Its finished product made no reference to
       religion e \cept to prohibit a reliOous test as a qualification for federal office
       holders.

       There arc no other references to the subject of reliuion at the Constitutional
       Con \ cntion. except fk)r Benjamin Franklin's speech at a critical juncture ofthe
       proceediiills on the 1-m)11 that pra\ ers should open its sessions. President
       Ronald Remlan. \\ ho sometimes rein\ ents liistor\ . mktakenk declared that as
                  or ITanklin's inotion. 'Trom that da\ on the\ opened all the
       Constitutional meetings \\ ith a pra\ er." Practical considerations - an
       un \\ llineic H let th.' pui,IL think thL• Con\ chtion \ n .. t, in trouhL2.
       MOI1L:\ to Fa\ LI minister. and deference to Philadelphia's Quakers - ifesulted
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        ilk d,...,011 ortik ranklin motion. The Con \ ention. he noted. "F\cept th y ,. c
        Cour persons. thought rm .\e i 11111CCCtr\

10. .,11 o3-o4,


         1.11L' Ma > hLI\                   'ontinental Congress. hut the\ did not pii\ at the

Constiwtional Con ention. That is a distinction that makes a difference. l'hc Articles or

Conlederation adopted \ t le Continental Congress do not provide a litmus tOr the


interpretation or the I stablishment Clause of the r nited States Constitution. The Artieles

of Confederation \\ ere ratified on March 1, 1871, but they lasted onl n tie\ en n ears. 'flle.n

were seriously detective. The Articles were subsequently replaced by thc Constitution on

june 21 1 / 88, and that Constitution has lasted more than 200 ears. Whereas the Articles

of Confederation, moreover, hardly recognized the separation between church and state, the

Constitution subsequently incorporated that separation, with continuing success.

        In fact, the major architects of the Cons nution vigorously opposed government

meddling in religion, including the issuance of procla ations of prayer. Thomas Jefferson,

for one. opposed such procla ations. "In his view, presidents should have nothing to do with

Thanksgiving proclamations or da\ s of pra n er or times of devotion. Thee were religious

ITIZIllCr falling into the exclusi \e pm nec of reIiious. ilot pohti al leaders: 'the right to ksue


such proclamations , elonL, strictl \ n the f brmer.',Iefferson declared. 'and this riLllit cwl ne \ er



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      safer than in their o\\a hands. \\ here the Constitution lia depited it. — Fd\\ iii

                                                                                       at p    1 )8 - ).   elferson s

                       retUsing H issue pra n er proclamatwns. si g nilicantl\ e\ idenees that the

                      , l1L2 1 pr    iivatii n isol long standa-ig. James Nladison shared Jet lerson's

\ ie\\ reprding the issuance ot pra\ er proclamations. Nladison's \ ic y\ s are partieulark

compelling )ecause _Madison is falsel n cited as a proponent or the Constitutionalit\ of

 edicated days of prayer. I e \vas not. Althou g h Nladison did stray from his con \ ictions

during a time of war, he did not believe his actions were constitutional. Levy describes the

circumstances:


         In his "Detached Memoranda" Madison also stated that "religious
         proclamations by the Executive recommending Thanksgivings and fasts are
         shoots from the same root with the Le g islative Acts reviewed." Madison made
         this remarkable judgment about so innocuous an act as a Presidential
         recommendation for a day of Thanks g ivin g , another extreme example of non-
         pre lerence on a matter respectinsl religion. I le rel/arded such
         recommendations as violating the First Amendment: "The\ seem" he wrote,
          to impl\ ind eertainl n nourish the erroneous idea of a national reliL2.ion." As
           President. ho \\ e% cr. Madison had proclaimed several dia .n s of last and
         thanksgi\ ing. but lie found extenuating circumstances in the Fact that he \\
         Chief rxecutive during the time a NN an \\ as fought on national soil.

 e%                                    elOV:   Rioii (07          1/1          Amendment. at 99-100.
                       SlottI             %OHL   at

         ‘               .: N unable to rekt th,2 d;: t ry, 111(.1 to pro,...T, I im a d.,1\
         .\11(.11'011 \\ 1
      Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 50 of 76




        but artCr FCtirin2. Irom the Presidenc\ he set lorth He bjections to the
        practice: 1 ) an eNecuti \ e proclamation can he onl \ a recommendation. and
        ad\ isol : \ go\ L.Tninent is a contradiction in terms: (2 ) in an\ C\ cut. it cannot act
        in 1 L:L:lc,ia,tit:ai              Presidential proclamation implies thc erroneous
        idea oi a national religion: 4 ) the tenano of the practice is to mirro\\ the
        recommendation to the standard of the predominant sect." as k CN idenced
         \dams' caHin g 1 .01" a Christian \\ orship: and (5 ) "the liahilit n of ffic pracuce to
           suhser\ icno to political \ ie\\ s. to the seandat or religion as \\ eli as tile
        increase of part\ animosities.

          \ en George Washimnoll. \\ hom the defendants rel y upon as authority for the


constitutionalit\ o I Presidential Prayer Proclamations, involves a far di Iferent real it n than the

defendants insinuate. In the first place, it would be:

                  . • . entirely erroneous to assu e that the constitutionality of
                  government proclamations of thanksgiving and prayer has
                  always been accepted without question....when in the first
                  Congress after the adoption of the Federal Constitution, a
                  resolution was offered to request the President to -recommend
                  to the people of the United States a day of Thanksgiving and
                  prayer, to be observed by acknowledging with grateful hearts the
                  many signal favours of the Almighty God, - objection was raised
                  by another member of Congress that -it is a business with which
                  Congress has nothing to do: it is a religious matter. and as such
                  is proscribed to us. - (Leo Keller. Church. State and f reedom,
                  pg. 265 (1967).

        ln the evcrit \\..&,hinton's 1789 Da y of Thanksgi ing \\ as never chalk.n2ed. but

 ieitihicalltI\            had not L ytri been decided       tk, pro\ ide a hasis lor suit. President

\A ashin g ton. irioreo\ ci. niiht \\elI he distreed that his !Lime and etHn a re I \\




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In \   oked as . iustification lOr an ..''\AJ of Con g ress establishing a '.Xational f)..\ of       er more

than                                        0 I 110111LI   rrerson. President       al t imnon \\a IR

Cluistian.                               ro:                  ind he \\mi poi g nantI\               e to the

di \ isk eness of religion. President \\ ashington. In a letter to Sir I dw ard                  \\ enham. on

October 2U, 1792, \\ rote:

          Of all the animosities w hich have existed among mankind. those \\ hieh are
          caused 6\ difference ofsentiiment and religion appear to he the most in \
          and distressin g . and ou g ht most to be deprecated. I was in hopes that the
          enlightened and liberal policy which has marked the present age \\ ould at least
            \ e reconciled Christians of every denomination, so far that w c should ne \ er
          again see their religious disputes carried to such a pitch as to endanger the
          peace of society.

           As the largest property holder in the parish in which he lived in Vir2inia, President

Washing on was for a time a vestryman, a pol t cal office in Virginia. He occasionally

attended the Protestant Episcopal church with his wife Martha, but did not take part in

communion. The foremost myth maker about President Washington \\ as Parson Mason L.

Weems, whose Life of Washington (1800) promoted the cherrn tree story and other

disinformation, such as the claim that Washininon prayed in the woods at \ T a1le for g e in the

hard ke \ kdati{.)ihn:\     ar N\ inter of 1777-;          make-believe scene has been raint,:d. and

e\ en appeared on stainp. and is repeated in ccral ot ideNational Day or Pia\ er

Proelamatioas, but the iv iii i3 not true, and in fac,.                           diari    r \ cal ill.'
        Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 52 of 76




        om attended church .. .md li . equeluk \\ diked and tra\ eled on the S'tibbath.    ashington

              ckiimed b\ man\ religions. but he kei his pH \ ite l eliefS to himsell.

                                                                    1.1)1?. Franklin teiiie.   s. 14-

 41.)

          Oilier historical inaccuracies ako are resorted to in support 01 the National Da\ 0

Pra\ er. includiin. reference to President Lincoln s (lett n sburg Address. \\ hich supposedl n

included the \\ ords mder God." In fact, the viginal address, from which Lincoln r -ad,

includes no reference to a nation "under God," nor does Lincoln's alter-speech second draft.

Only a late commemorative ‘ersion of the Gettysburg Address by Lincoln, an unorthodox

deist, added "under God."

          The defendants' fault)' history, in short, simply cannot be used to support the

constitutionalit y of Prayer Day Proclamations: nor can their interpretation of Supreme Court

precedent. The United States Supreme Court has recognized in ;ll/cl1eJivv. liiicuiccin Civil

Libc-th        7i017.   492 U.S. at 603 n. 52, that official Prayer Proclamations stand on different

footin g than ceremonial deism such as legislative pra n er. The Supreme Court stated:

                 It k \\ orth noting that just because larsh sustained the \aliditv
                                pra n er. it does not necessaril\ follo\\ that practices
                 liL proclaiming a National Da\ of PM\ er are constitutional.
                 Legiskub e        er does nottire iiiicn to Lm..ydyc h rii,;.2.iotb
                 practices. and on that basis could \\ ell he distinguishable 11.(1111
                 Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 53 of 76




                         Jl   \hor t a t ion from    ,2 rn i nc ill t o thc   0             ellp1.1Ls

                         In    I ini condw,


         IL111111C,11111\ .inc Court*s doubt allow theconstitutionalit\ e l'ra\ c W\ PrOclanhition,             in

came alter the Court s decision in                                                              46S U.S. 668. 675

       (1984 ). upon \\ hich the delendants rel n . The Court concluded that I \ neh teaches onI\ that

       the ;.,2.0\ ernment 11M\ celebrate holida\ s w ith reliLlious signilicance in a \\ a\ that does not

       endorse the re igious doctrine or aspeet of the holiday. Allechell , 492 U.S. at 601.

                  The Supreme Court's concern about religious endorsements has found voice in

       subsequent recent decisions as well. For example, in McCreary Count y, 545 U.S. at 861, the

       Court noted that when the government desiunates Sunday closing law s, it advances religion

       only minimally because many working people would take the day off as one of rest

       regardless, "but i f the governmentjustificd its decision with a stated desirc for all Americans

       to honor Christ, the divisive thrust of the official action would be inescapable." As a result,

       the Supreme Court has upheld Sunday closing sta utes on secular grounds, after finding that

       the government had forsaken the religious purposes behind predecessor laws. Id.

                  The Supreme Court iurther noted in McCrcarl' the di iference let\\ 1/4 en passi e

                   und "iussi,tent calls" for re u...liott uetion. "Creehe, placed \\ ith               Inhols and


       pra n L        c...,lislators do not insktenti\ call fr reI iciou ,, action on the r,ini oh eiti/ens:




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            , ostin g th   en Commandment, ho\\e\,.r expressed a purpose to               eiti/ens

                                 person.il    , onsc to di\ ine authorit \     I     at     H. 24.

                \ . the Supreme Court noted in               that the framers of the Constitution

intended the 1 tahlishment Clause to require o\ ernment neutralit\ in religion.

neutralit\ in statements ackno\\ ledging re igion. I he er\ kinguage of the listahlishment

Clause represented a significant departure from early drafts that merely prohitHiL.'d ;t single

national religion, and the final langua g e instead extended the prohibition to state support for

reli g ion in general." Id., at 878.
                                  8. See also Lee v. Weisman, 505 U.S. 577, 503-506 (1992)

(Justice J. Souter, concurring) ("President jefferson steadfastly refused to issue Thanksgiving

Proclamations of any kind, in part because he thought they violated the Religion Clauses.").

        The Supreme Court, in short, has not determined that Prayer Day Procla ations are

constitutional, even without the evidence of concerted action with pa ently evangelical

organizations, which marks this case. The defendants argument to the contrary is wrong.

        Nor has the constitutionalit y of Pran er Proclamations and Prayer Day dedications been

decided ancillary to any _judicial reco g nition of holida y s like Thanksgiving and Christmas.

Judicial ackno\\ led g ment of such holida\ s. in fact. has been limited to instances a vhere thc

justilication    1`, based upon the secular aspects H such holida\ s. (-3\ contrast. courts ha\ c



notsanctioned        \ eminent recoLmition H holida\ \\ here the justilicdtion \     Hscd upon


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"religious connotations. For t..s Nitnlrle. in                            F.Supp.

(S.D. ( )11.100 0 i. the Court concluded that the nited States did not \ Hate the FtL1h1ts1unei1t

Clausc          ing lederal emplo\ ees a paid \icaiion da\ on Christmas. but onk hecause thk2

20\                 not NCoLlniiiiiLl the religious signilicance ol the holida\ . According to the

court. 'the L'onclusion that Christmas has a secular purpose is supported H cases allaI n /11111

the constitutionhht\ of school, office. and courthouse closimls ot other da\ s traditional! \

celebrated as holy days by Chris ans." including Good Frida n . Id., at 833.

         In Granecier v. Middleton, 173 F.3d 568, 574 (6th Cir. 1999), the Court similarl n

summarized the law in regard to Good Friday closings, finally concluding that holiday

closings are suspect "if the purpose for which they are instituted is religious." See also

Cammack v. Walhee, 932 F.2d 765 (9th Cir. 1991); Metzl v. Leininger,57 F.3d 618 (7th Cir.

1995); and Bridenbaugh v. O'Bannon, 185 F.3d 796 (7th Cir. 1999). Govern ent

recognition of various holidays wi h supposed religious connotations has been upheld only

so long as the recognit on is not based on the religious significance of the holiday. That

dktinetion lies at the heart cl . the upreme Court's Allc.crhenr decision rezirdim,4 the

  inholism ol overnnlent speech.

         In short. the supposed historic d. i s1ipprt for t he constitutionality ofthe NaIH1LII Dav

of Pra       siinupported 1 .-ctuall n --and non-r ponsi c to the
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rcsiol \ Li I 1CLl 1lctjon. Prolb.sor Pfeffer succinctk rehut the rCaSk)11IFIL that "ap , eals to the


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or agn      tic. notinil:


           his reasoning 11111-1C '-; that those \\ ho initiated or accepted the rk2k:Nnce:s to
         God in an\ particular document anticipated and \\ ere \\ Ming that the reference
         be taken as authorit \ justik ing the particular przictice in question. [here is
         rarek an \ C\ idence to Slipport such an assumption: on the contrar\ . it is
         reasonahle In Ltssume that man\ orthc original framers oldie document \\ ould
         ha\ e opposed the reference had tho anticipated the use to \\ hich it \\ as later
         put... these references to God that Ltre used to justif) conerete practices are
         themsek es assumed to be constitutional only because they have not been
         adju4ed unconstitutional...

         Finally, and most important, the question whether particular acts are constitutional

must be determined by the Constitution of the United States, and that document does not

contain any reference to God. This omission was not accidental or inadvertent, and was the

basis of much opposition to the Constitution. Citing references to God in court oaths,

legends on coins Presidential Proclamations and the like would appear to be rel n ing on

secondary evidence here the primary evidence does not sustain the convention thouLtht to

be pros cd. Put some \\ hat different] . when Justice Douglas in Zoracli case or Justice

Ste\\ art                      L cited reEercnce to Cod and Presidential Proclamations in

courtroom oaths to pro\ e that the Constitution does not require - that in e\             ind all respects

there shall he a e r ai-Ation oi church and state            nor 1,1 , hibit-d released-time       ii...110tis
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instruction or puhl      h1 ponsorc lra\ er recitations. the omission ol reierem:              o (Iod

in that Constitution inh.l.nt h cited \\ ith at !cast equal lot,c and logic Ior thL: direct r12% 1

or the proposition. PrelIer.                   L                  1




           he ldct is that no court decision has directl\ considered thc constitutionalit \of

National Da\ or Pra\ cr Proclamations in N\ hich that \\ as the t.juestion presentek. --and in

which the question was resol \ ed by employing the proper anal n tical approach to a deve oped

factual record.

                Government Speech Must Be Evaluated By Content and Context.

       Even with public displays of Nativity scenes, the content and context of the display

must be considered in order to determine whether any particular display gives the appearance

of endorsement of the religious aspects of the Christmas holiday season. Courts have not

simply generalized that religious holiday displays are constitu ionally acceptable. Public

displays, instead, are carefully sc utinized for any appearance of governmental endorsement

of the reli g ious significance of the holiday. Hence, in Alleghc a y. the Supreme Court

concluded that the displa y of a creche had an unconstitutional effect, but a menorah disp ay

\\ as allowed bocause that displa y in its particular ph         ca setting \\ ",1; deemed a \ isual

\ mhol lOr a holida \ \\ ith a secular dimension.


       "                  the P ro P LT wiLI L tical arproach. thci lorc. a court i   liarcd ith the


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 k.sponsibilit n   I'assk.s ssiii,2. the totalit\   I the cireumstanees "tO deterildne         hether a

reasonablo person \\ ould belie\ that 12.o\ eminent            eccli amounts to an Lsndom,cinciit

l'C IL11011                                                   4 ( - di Cir. 1.20tHft I lie110\ ernmenrs

LISC 01 religious s\ inholism is iii        iistitittina ii it has the eliect kd endorsim..2   meliiu
beliefs and the effect oldie         ernment's use olrelh..2.ious s\ mboliS111 depends On its context.

10.

          The appropriate emphasis has remained squarel:\ on eN aluating the totalit\ of the

circumstances when judging the constitu tonality of government speech. including in the

Supreme Court's recent Ten Commandments decisions in McCreary and I/an Orden v. Perry,

545 U.S. 677 (2005). In McCreary and Van Orden, the Supreme Court reached different

conclusions as to the constitutionality of challenged Ten Commandments displays based

upon the different circumstances and context of each display. Neither decision, however,

leaves any doubt that if an objective obser\ er could conclude from appearances and historic

knowledge that the g overn ent \\ as                 onstmat ing a reli ious preference, then the

Establishment Clause ould be violated.

         Tho eonc:ept of "ceremon ia deism" also is de lendent upon the conclusik)n dial a

reasonable ehcr er would not \ ic:\\a reliLlious                       o\ emnnicuil pcecl1 as ha\ iniz

                                   eonstitutional    alue ol ecrelilnual deism turns On


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understanding r its lcUiiinatc 11011-FC igious purpocs.

                                      U. rConnor.        neurring     I his determination.        noted.

                                                         i ntent. includin.i. circumstances, that ma\
         jr i k   In\ k
FIL!CC                       Ilat fon 1.   LOHICNI and


change ith the              of. timc as the actions and motk ations H H iciak change.

          .\ en practices such as legislati\e pra n -r ',ire not constitutionalk Liccpluble in all

circumstances. as Justice Blackmun recogni/ed in Comm .'hem.. 402 U.S. at 604 n.

    stat lug that "not c‘ en the unique histor\ of legislatiN c bra n er can just          contemporar)

 'gislative pra n ers that have the effect of affiliating the government \N ith any one specific

faith or belief." See also Hinrichs v. Bosnia. 440 F.3d 393 399 (7th Cir. 2006). Nor does

one acquire a vested or pro ected right in violation of the Constitution. Marsh v. Chambers,

463 U.S. 783, 790 (1983).

         Here, the defendants avoid the essential analysis. First they incorrectly equate the


legislative prayer in Marsh with Presidential Prayer Proclamations which exhort participation

in religious activity . Next, they tr y to equate Thanksgiving and Niemorial Day Proclamations

marked b n pra%e r \ ith Proclamations extolling and exhorting pm\ er ror its own sAL:. Ike

tv,osittmtions i.11"e diitervnt. and the [act ofrecord in this case estahlkh that theNAonul I )av

orPra% erR seen as an endorsement or re i g ion. and one that k                I \ 1 , 1\ L:   L'011111,


 hankck ing and \                     t% honor secular       h ecti      hut there i no seculiir


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ackno\\ iedgment of the role orrcligion in •merican li1 rrom at least 1 - 8(- 1 ,                          1 his k not true.

   some orate Presidential Prochlmations e\ en Clmtradiet this claim. Lor                                  lance. thc 198-


National Da\ of Pra\ er by Ronald I:eagan ackno\\ ledged onl\ intermittent Da\ or Pra \ cr

Proclamations before 1952:

       In 1952 the Con g ress of the United States. resuming a tradition obser\ ed by
       the Continental Congress from 17 - 6 to 1783 and Collo \\ ed intermittently
       thereafter, adopted a resolution calling on the President to set aside and
       proclaim a suitable day each year as a National Day of Prayer.

       In 1983 President Reagan's National Day of Prayer Proclamation similarly noted:

       Two hundred years ago in 1783, the Treaty of Paris officially ended the long,
       weary Revolutionary War during which a National Day of Prayer had been
       proclaimed every Spring for eight years. When peace came, the National Day
       of Prayer was forgotten.

       Government speech, whether it involves legislative prayer, official Pra er

Proclamations, government displan s of Ten Commandments, or other religious symbols,

must be evaluated in the larticular circumstances of each case in order to determine N\ hether

the speech iinperinissibl\ endorses religion, in the present clse. therelore, the question

immediatek helore the ouFt 1 \\ hethcr the idcts and eireumstances, relatin to I residential

Pr . \ nVroelainations and P n LT )a                    'F) , •1 1 . :2   Ui ieicnt ,   so that a reasonah                er
     Case: 3:08-cv-00588-bbc Document #: 103 Filed: 12/10/09 Page 61 of 76




could mind the appearance lciloreinciut. 11 thc evidtmce and reasonable inlerences upport

such a conclusion. then the delendants lotion ror Summar\ JudLtment mus be denied.

        I he ourt must Locus on the content and conte\t in \\ Inch the        \ ernment s ue

relinotts     mholisin     'sears.   1 his requires hh1\ !act          scrutin\ N\ Inch must he

approached on a casC-b \ -case hasi s. \nal\ sis or an Ilstablishment Clause challene It

            'nt sreceh is ulti ately dependent, in important part, on lact ua I determination,.

including Yhat a reasonable obsen er might fairly understand to be the 2.overnment's primary

messa2.e. in its particular setting. On this score, the defendants merel n sidestep the evidence.

       D.       The Relationship With the NDP Task Force is Part of the
                Relevant Content and Context, But Ignored By The Defendants.

       The relevant context in this case involves the President issuing P ayer Proclamations

and dedicating Days ofPrayer„ in celebratory and festive circumstances, whereby citizens are

encouraged to engage in prayer. The circumstances indicate a preference for religion,

including Christianity, and the dedicated Prayer Days involve controversial and divisive

exhortations to pray.

       Presidential Pra y er ProeIamation also evidence concerted action with CN'andical

Christian orpnitation,. includihg the NDP I A\.                    he President's 21)0 Pra \ er

Proclmmlion       pre \ incorporated the preLlec1ed Biblical quote        en u hnn H die\ DP




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                 itille( -)cr\ er n \ ould kno\\ thtit the ,xpress reference in die President's

Prtt\ ci Piclam:Mon \\        deri \ ed Iroin the N )1) I ask Force. \\ hich dictatesa sli 'Ic them,:

k he uscd 1-, \ the Pr 'sident and the ?._.to\ ernors orall   tate   II\ ti..treein.1 to incorporate (he

NDP I ask I . orce's almual theme. ho\\ c\ er. the President created the appearance

endorsement or the NI)P fask Force. the alliance \\ ith the NDP [ask I orce created the

intended iiiipression that the NDP Task I oree and government are \\ orking hand-in-glo \ e

in sponsoring the National Da\ ofPraver.--a situation that remains Cull y capable or epetit

        Nor has the government aligned with a "benign" nondenominational organization.

The NDP Task Force is a vi ulently Christian organization; its organization and promotion

of the National Day of Prayer and corresponding state Prayer Days are based on exclusively

judeo-Christian principles; and the NDP Task Force Prayer Day dedications are not passive

acknowledgments of the historical significance of religion - - the NDP Task Force claims to

publicize and preserve America's alleged Christian heritage, to encourage and emphasize

prayer, and to g lorify the Lord in word and deed.

        Proper consideration of Pra\ er Proclamations and Pra\ er Da y dedications must also

take into account the inherent nature oLpra et-. In ../(/',./c                     F.2d

33 fI lth      103 ). the Court eniphaiied that pra er k the quinteential rehiiou practice.

such that no ccular purpose ..encralk cJh he iildrred.
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                                       04 -.2d 1145. 11        4th Cir. i)1       act -,k) intrirHicalh

rcIiious as pra erc;Innot meet.            1ci     uld ha\ e    Ilicult           thcseLular purpk

pron ,.2 or the 0)1w?                                              t .S.        1108   ) Moreo\

e\horLitions Iroin go\ ernment officials to engage m religious conduct, \ proclaiming a

National Da\ oL Prtk cr. are distinguishable from Thanksgk ing and Memorial Da\

Proclamations. \\ hichholidik ; a so ha\ C non-re igious significance and \\ hich are celebrated

by non-belie\ ers. C0111111 .   . 11          492 I.'.S. at 603 n. 52. Similarl \ one court has found

that pra n cr at Presidential Inau ,g urals does not have the sole purpose of encouraging pra n cr

for its own sake. The National Day of Prayer, by contrast, involves "reaffirmation" by action

and is blatantly exclusive of atheists and agnost cs..

        The circumstances of the present case, including the dedication of official Prayer

Days, constitute calls to action. Presidential Prayer Proclamations are issued in a context in

which prayer is being promoted and extolled as a religious phenomenon. Pra n er is being

promoted as and for the sake of religion. There is no secular rationale for the Pra \ er Day

celebrations inarked b y Presidential Pra\ et- Proclamations.              Ihe sole rationale is the

encouragement ot lra\ cr b \ go\ eminent.

                I he National Da\           Pra\ er T.eeislation k Faciall\ 1.'ncontitutional and
                 nconstitutional




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        lhe             Hslation requirinL2. t         resident to set aside ti ippropriatc da n tis a


7\,*ttioriatI )1\ or PM\ LT.            (11C I   O SS I c H1ation requirih ,, 2, that the first I hursda \ in

 la\ in each \ tnr be set aside as a \ativna Da\ ol                Lr. LIR! LICRIII\   unconstitutional and


unconstitutional as tiprhed. 1. he 1,..eisitition                  unconstittitional because the liktorn


                 , .1olthe 1
and understandin „               islation establishes that the purpose and intent \\as io desipate


a day for the sin gular purpose of exhorting pra) er for its ON\ n sake. rather than simpl \ to

invoke pra n er ceremoniall n to reco g nize other purposes, such as occurs at ThanksgiN ing. or

on Memorial Day, or War Remembrances. Fite legislation fails the fi s 1±117011 test.

        The Nat onal Day of Prayer Legislation in both 1952 and 1988, moreover, is perceived

and unde stood to be a call to prayer. In fact, the 1988 Legislation, designat ng a predictable

National Day of Prayer was initiated and adopted for the purpose of facilitating the

scheduling of events related to the National Day of Prayer I)) aggressively evangelical

organizations NA- antmg to mobilize their membership base with government help. Pat Boone,

Co-Chairman of the National Prayer Committee testified in support of the bill, noting that

annual obser\ ances with a different day being proclaimed each year "offered little advance

                                      , rass routes constitticHeiC," (134 Con.,1. Rec, I :u 1.
notice to adequatel n inlOrin the , . _


 larch 16. 10


        Th.L. delendants arinuincnt that Presidenta Prociarnations need not L:110,t111::


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in \ iohition of the 1     11 , 1L-1mh.s nt Clause i belLdh\ the e\ idence oleonsistent I residential


Proelamations ilut encourage aH .\mericiwis to jiirticipate in the inherent:\ eIiou           elk it\


0 pra \ er.               01 III the Prcsidcnti a
                                                . l Prochunations since )52 shows the consistenth

e\clusionar\ and prose \ tizing messa             the Presidential Proclamations:

              . From 1952 - 2009. 45 Am,: NDP Proclamations ha\ c explieitl n
                directed "all" Americans tor "c\ er n " or "each" American) to pra n
                These presidential proclamations occurred in the n ears: 1952
                1953. 1954. 1955, 1956, 1957, 1961. 1962. 1964. 1965. 1966.
                1967, 19 7 0. 1972, 1974, 1975, 1976, 1977, 1978. 1979, 1980,
                1983, 1986, 1987, 1989, 1990, 1991, 1992, 1993, 1994, 1995,
                1996, 1997, 1998, 1999, 2001, 2000-2008.

                   Other Presidential NDP proclamations have by implication
                   directed everyone to pray, such as Pres. Nixon in 1968,
                   saying "Let us . . . thank God;" Pres. Nixon in 1969 saying
                   "I ask that on this day the people of the United States pray ."
                   In 1988, Pres. Ronald Reagan intoned in his NDP
                   Proclamation, "let us join together." In 1989 Pres. Reagan
                   said "I irn ite the people of this great nation [to prayr In
                   1990, he said. "I ask my fellow Americans to join with me.
                     ft




                   In 1964, Pres. Lyndon Baines Johnson said: "I call upon all
                   of our citizens, therefore, to obser\ c the National Day of
                   Pra\ er in accordance with our custom each in his own
                   \\ M and in his o \\ n IN ith and then 12.i \ inu Americans lour
                   tInngs to pra n about.

         4.        In 195 .4 . Pres .senhower called on ' 111\ IdloW
                   Americans. and c\ en "all \\ ho nla\ he \ isitors. )
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         At least len Presidential N DP proclamations rel\ upon and
         repeat historical errors. I he most common error is the
         sititement that the lotinders pra \ ed at 11h: Constitutional
            on\ ention that adopted the deliberatek               seeular
            onstitution. I hese inaccurate Presidential prodamatiow,
         \\ ere inadc 001 . 1905. 10 —, . 1084. 108 0 . 100n. 1004.
         1000. 1000 and 2001 . \t least Lour other proclamations
         impl\ this error. In 100 I . Pres. John I . . Icenned\ repeated
         outright this Callao . "During the deliberations in the
         Constitutional (...on\ ention the\ \\ crc called to dail\
         pran ers.

  6. In 1984, Pres. Ronald Reagan's proclamation correctl n notes
         Benjamin Franklin callinu for prayers but fails to note that
         Franklin's call for pra n cr was ignored. "With these \\ ords.
         Mr . Franklin called upon the Convention to open each day
         with pra n ex. and from the birth of our Republic, pra) er has
         been ital to the whole fabric of American life." It is not
         surprising that so many of the NDP Presidential
         Proclamations repeat this historic error, because The Report
         to accompany Hi. Res. 382 enacting a National Day of
         Prayer is based on the same error: "When the delegates to
         the Constitutional Convention encountered difficulties in
         the writing and formation of a Constitution for this Nation,
         pran er was su ggested and became an established practice at
         succeeding sessions."

                1980, Pres. Jimm\ Carter in his NDP Proclamation made
         this broad generalit n implying prayer \\ as part or the
         l lonnation olour secular Constitution: "While ne\ er \\ i
         to bo\\ to a t \ rant. our lorelhthers \\ ere ak\ a\ s
         .,.1 et to their knees herore God.-

                    NDP Presidential Proclamation k Pres. Rs..a
            onL     at lcat   e Presidential Proclamations \\ Ifli


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         repeats a !act the apocrn phal storn  \\ ashimItonl.nLsclin ,„1
                L21 d VaIlC n Fop . \\ hich no Cr happened.


  9.     I he I 9:; 8 1 r )elahlatioll 11\ P res. LisCIlho\\ er *1:1110re',
         11011helle\ erS. SZI\ in thc nation \\J , "challenged 1,\an
          trei c denial of Di\ ine Pro\ idence.

   10.   1 he1980 proclamation 11\ Pres..limm\ Carter like \\i e Sa\
          as a nation \\ L. cannot hut hopc that more of OM citizens
         \\ ould. through pra\ er. come into a closer relationship \\ ith
         their maker. - This is not surprisin g . considering the
         legislation enacting the N DP likewise heaps disrespect on
         nonbelievers. b y SLIVinu the la\\ \\ as designed as a measure
         against "the corrosi \ c forces of communism N\ hich seems
         simultaneously to destroy our democratic way of life and
         the faith in an Almi ghty God on which it is placed."

         The 1987 proclamation by Pres. Reagan reads like a sermon
         and chides Americans for "being too proud to make, or too
         prone to forget" an acknowledgment to deity.

   12,   The 1991 proclamation by Pres. George H.W. Bush says
         "we owe constant praise to God."

   13.   Several proclamations include biblical allusions: 1961;
          1970, 1979, 1979, 1984,1986 ("pran ithout ceasing"): and
         biblical references in the NDP presidential proclamations
         issued in 1990. 1991, 1992, 1994. 1997, and in 2000. 2001,
         -1 004 and

  14.    All of Pres. ( eorc W, Bush's NI )P Proclamations
         cncoura2e special ohser\ ances in all :50 l'atLs. and cnjoin
                     mo\ e he\ ond just pra \ er to action and attendance
         at these C\
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   15. 7\ ot ND!) Proclamations ha e directed "all" .linericans not
         onl\ to pra\ hut told them \\ hat to pra\ about. A blatant
          example include the N DP Proclamations in 1 0 5 0 . in \\ hich
                 1)\\ ight D. I senho\\ er culled "upon ni\ !Clio \\
         :\mericans and all \\ ho ma\ he\ isitors in our countr\ ... to
         .join in Ev ,. 1\ er br OW' Nation . . that \\C ma:, ha\ e Di \ ine
          g uidance in our cl Hrts to lead our children.

   16, Other N DP Proclamations that read like pious laundr\ lists
         included the 1 1)6(1 proclamation hv Pres. Ilisenho\\ er. ho
         directed "nr\ countr\ men" to remember such religious
          click as that "NN C shall e\ er place our trust in the keeping
         of ( iod's commandments."

   17.   In 1961, Pres. John F. Kenned n listed live items over which
         to "Let us pray," including ror "divine guidance in our
         efforts to lead our children in the wa n s of the truth."

   18.   In 1962, Pres. Kennedy listed four items over which to pray,
         after expressing the dubious idea that "Almighty God was
         a dominant power in the lives of our Founding Fathers; and
            . they expressed this faith in prayer."

  19.    In 1963, Pres. Kennedy's proclamation was "conscious of
         the religious character of our people."

         On Sept. 25, 1970, se \ eral months aftLr orderin g the
         invasion and homhing a ICambodia. Pres. Richard Nixon in
         his NDP proclamation invited "all Americans to pra\ that
         the scour g L ot war he lilted from the earth."

         On Oct. L. I ) 7 1. Pres. Richard Nixon told Americans in
         his ND!' Proclamation: " I his hunger can onk he met in IN,
         Inllness throu g h prii\ cr."1Ie urged "that .1incricans pra Hr
         thc ullncs or reconciliation among all
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                              PrL      Carter's NDP PiTaitiii
        proeLninim,._2. oct.  19 -0 . the itional Da\ of l'ra\ Cr. he
        asked -all American:„ to join \\ ith mc on that da \
        recommit oursel \ es to c.iod."

          hc I k NDI' Proelzmtation b Pre. Rlmald Reagan,
        declarin g la\ i. 1983 to be the National DJ\ or PM\ a.
        belled the propaganda or the NDP [ask Farce. and the
        Misiffibrmed tissertions defendants. that there had been
        an "unbroken" line of' pra n er proclamations dating to the
        natioli's inception. Pres. Rea g an proclaimed: "1\\ o hundred
        \ ears ago in 1783. the l'reat\ of Paris officiall\ ended the
        lon g . wear\ Re\ of utiontir\ WTh • durins2, \\ hich a National
        Da\ of Prayer had been proeki hued every spring for eight
        years. When peace came the National Day of Prayer was
        forgotten. For almost half a century, as the Nation grew in
        poNN er and wealth, we put aside this deepest expression of
        American belief our national dependence on the
        Providence of God. "It took the tragedy of the Civil War to
        restore a National Day of Prayer.. . . Revived as an annual
        observance by Congress in 1952, the National Day of
        Prayer has become a great unifying force for our citizens
        who come from all the great religions of the world. Prayer
        unites people. This common expression of reverence heals
        and brings us together as a Nation and we pray it may one
        da) bring renewed respect for ( ioci to all the peoples of the
        \\ urld ." In conclusion. Pres. Rea g an added: "I call upon
        e\ CF\ ci izen of this great Nation to gather together on that
        da\ in homes and places or \\ orship to pray..

        In 1984. Pres. ReaL2an quoted II Chronicles             "Ir m \
        people . \\ ho are calledb\ m \ name. v, ill num He them,e1\
        and pra\ and -,et.!1: III\ lace and turn from their \\ iAed \\ "..1\ s.
        th CH    \,\  1-1L-,11. Irani 1IL:a \ en and \\ ill lor2i\ e their sin. aild
            II heJl their land."


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          In 1 9 86. Pres. \ca g an's NDP Proelaination said "Christ
          enjoins us 1, , , ra\ \\ ithout

          In 1988. Pres. Ronald Rea g an in his NDP Proelamation.
          said: - I he lesson is elear that in the \\ inning of freedom
          and in the li‘ inc of life. the first stcp i; pra\ er. lie",idded
          that the first step ol the . meriean go\ ernment \\
          "humble. heartfelt pra \ er."

               0 89. Pres. George I LW. I3ush \ c a er\ long
          1 11 I

         proclamation asserting: "Our Nation's hktory and the li \ eS
         01. millions of men and Women amund the world provide
         compelling e\ idence of the power of faith and the efficacy
         of pra n en." He spoke of "the 1 . other's I louse. the New
          festament parable of the Prodi g al son, to sho\\ that "God
         ans\\ ens the prayers of those 1\ ho place their trust in Him."
         He added: "I therefore ask my fellow Americans to join
         with me in prayer for our children. Let us strive to help each
         of them sink their roots into the rich soil of God's love for
         the beings He has made in His own image. Let us show
         them through prayer that we, too, like our Nation's
         Founders, seek our shelter our rock and our salvation in
         the arms of God."

  28 In 1991, Pres. George KW, Bush's NDP Procla anon
        began, "we owe constant praise to Almighty God." . . "On
        this National Day of Pra \ en. let us ackno\\ ledge \\ ith
        heartfelt remorse the man y times \\ e ha \ e failed to
        appreciate the Lord's g i Cis and to obe\ IIis Commandments.
        (.;k : im.! humble thanks for I lis mere\ . let us \ 0\\ to fulfill
        not onl\ our responsibilities hut also our potential as one
        Nation under God. \ lost imptfttant let us make our pra n er
        pleasing to Ilim.

                      o\\ -rful medium      pra n cr."Prc. initon urged
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                 in his 20()H NDP Proclamation.

                 Ia 20)1. Pres. Geor)lc        13ush used the NDP I ask I . ort.',.
                 \\ ording: "I he themL2 oithc 2001 National Da\ olPra\
                 'One 'Nation t 'nder (Tod. In a pra \ er written
                 the ocei.ision. A.merit:ans are asked to pra\ for 'a moral and
                            rene\\ al to help us meet the man n problems \\
                 face .' Special obser\ ances are scheduled Col- all SU States.
                 \\ nh local \ olunk. ers planning a \ ariet\ of acti \ ities
                 including pra\ er breakfasts. concerts. rallies. and student
                 giuherings.

                 In his 2004 NDP Proclamation. Pres. Bush again cited
                 scripture, noting "thc 1.ord is near to all \\ ho call upon I lim.
                  . He also will hear their cry, and save them."

         32. In 2005, Pres. Bush in his NDP Proclamation, enjoined:
             -The Congress by Public Law 100-307, as amended, has
             called on our citizens to reaffirm the role of pra er in our
             society and to honor the freedom of religion by recognizing
             annually a National Da) of Prayer.-

                 In 2008, Pres. Bush once again expressly adopted the NDP
                 Task Force theme and supporting scripture: "This year's
                 theme, "Prayer! America's Stren g th and Shield, "is taken
                 from Psalm 28:7, -The Lord is my strength and m) shield;
                 in\ heart trusts him. and I am helped." (The •nnual
                 Presidential Proclamations since 1952 are included as
                   \hibit (.),)

       The factual historical record of Presidential Proclamations callint! lot t Ntitional Day

Of Pra\ el- rebuts the delendants suLlgestion that no prospect) \                     necessar\ or

appropriate. c\ en ii Pr sident Bush did pander to the '.\..itional Da\ ol                t)reC.
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ineorporatin gits annual theme and supportin g scripture into hi ON\ n proclamations.                           v

doin    o. President I3ush clear ni aliined himsel \\ ith the recogni/abk Christian e                   ression

ol the National )a\ of' Pia\ er I ask liorce. Ibis case is not just about those Proeliunations.

htme\ cr. because eN en the most recent Proclamation bN 1resident ( )barna. cautiousk ksued

in the crucible o I . litigation. C\press \ called for Americans to enga                   i prii\ er -- because

that is what the National Da n of Praver is all about. \ rtuallv all or the Presidentiai

Proclamations since 1952 have gone beyond any acceptable acknowledwnent of NI igion. and

instead, they have promoted pra n er as a normative and recommended activit n for a l

American citizens.

        The history of Presidential Procla mations declaring a National Day of Praver

establishes thc facial problem with declarin2 a National Day of Prayer for the sole purpose

of calling to prayer; the record of actual Proclamations demonstrates that actual Presidential

Proclamations declaring a National Day of Prayer in fact eviscerate the prohibition on

government speech endorsin g religion. Presidential Proclamations constitute government

  Lech that unconstitutionall n gives preferential treatment to a pro-pra er ic\\ point in

contrast to the \ ic\\ s oinon-belicA ers.           Mercier v. LaCrosse. 2, 05 . Supp. 2d )99. 1011

(W.D. NA ,21)04 ),       I hi, vic\\ point            crenc ‘:. on a matter proscribed by the First
                                             1 1-1/4: .




amendment. cw and          ould 0e retire             H         \ andi,it ion or t hc   Ajonah          Pr J\




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                  s Planned Piirenthood or South Carohim...,         .3L1 at 4).

        1 h, court should declare the     _Iklation requirine the Presidem to 1eclare an annual

'National I )a\ Oi Pra\ Cr to he unconstitutioiml on it I        Ahern;Il i\         ,:ourt should

sleclIicalI \ emoin the deteiidants frorn distrihutin National 1.)..1\ oi Pra\ er Proclamations

that encoura .v.e and exhort Americans to engiftle in Ali\ c pra n cr.

VII. THE DEFENDAN I SHIRLF)( DOBSON SHOI. LD BE ENJOINED FROM
      COLL N.BORATING IN NATIONAL DAY OF PRAYER ACTIN ITIES THA
      GIVE THE APPEARANCE OF GOVERNMENTAL ENDORSEMENT.

       The defendant Shirley Dobson is the voice and face of the National Day of Prayer

Task Force, which has collaborated hand-in-glove with past National Day of Prayer

observances, including prayer services in the East Room of the White House and the Cannon

Office Building. Mrs. Dobson also has been instrumental in obtaining National Day of

Prayer Proclamations from Presidents and State Governors. Shc also has overseen the

mobilization of more than 40,000 coordinators and millions of participants in National Day

of Prayer observances across the country.

       Actions of a private person are attributable to the g overnment ifthere is a sufficiently

cloe nexus between the .2.O\ ennnent and the challenued action of the pri\ ate intik idual so

that the action of the latter ma n be Eh irk treated as that of the government iIe I f. Cooper \ •

U.S. Posta Ser\ ice, 5771 ,3d 4Th, 491 t 'nd Cii. 2HHH. :\ nexus oi action exi,t bet\\ een


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   pri\ ift intik idual and the ,, o\ eminent \\ hen the pri \ ate aetor          • rates as a \\

participant in coneerted acti \      \\ ith the Lto\ eminent or i     enls. H.In this L'asC. that I-his

e-rtaink Neen the relationship held h .\ Nlrs. Dohson.

              . I )0 , s )ri. as ( ' huirman or o-chairman of the National I) i\ of Pra\ LT1. ask Force

since I t )   . has insinuated herself into go\ emment-sponsored National Da\ of )ra\ et-

obser\ ances to such an extent that she is clearly a willful participant in concerted acti ity

with the government. Mrs. Dobson is the chairman of an organitation that maintains a

website proclaiming itself as the "Official National Day of Prayer" site. She obtains annual

Proclamations from Presidents and governors, including proclamations that include an

annual theme and scriptural reference provided by Mrs. Dobson. The annual theme and

scriptural reference are recognizably Christian and the National Day of Prayer Task Force

headed by Mrs. Dobson represents an exclusively Judeo-Christian expression of the National

Day of Prayer. In fact, coordinators of observances at the local level for the NDP Task Force

must themselves sign an oath of adherence to the religious perspective of the Task Force.

So interm Med is Mrs. Dobson with the National Dav of Pra y er that Presidential

Proclaniat ions in the past ha\ e included the Task I . orce theme and scriptural relerence. as do

man\ proclamations issued h\ state go\ ernors. Mrs. Dobson is so mnteral to the National

 )a\     Pra\ cm tHt a heated national dehate occur each n ear hecaue ol tile remcCIIHII


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the        tilat the   tiani1 DaN orPra\cr has been hijacked h\ c\

       CONCLL SION

       For aH or thC abk)\c ieisaii. thc court should Llrant judLtment in the plaintiffs rLI\

chjoining rurthcr declarations or t    itianal Dt' al l'rd n LT.

       Dated this 10th dan of Decemher, '009.

                                                    BOARDMAN LAW FIRM
                                                    By:

                                                         /s/ Richard L. Bohan
                                                    Richard L. Bolton, Esq.
                                                    Boardman, Suhr, Curry & Field L ,P
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                                                    P. 0. Box 927
                                                    Madison, WI 53701-0927
                                                    Telephone: (608) 257-9521
                                                    Facsimile: (608) 283-1709
                                                    Attorneys for Plaintiffs




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                                            CERTIFICATE 01: SERVICE

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